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                                   ADDENDUM




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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA


             US DOMINION, INC., DOMINION
             VOTING SYSTEMS, INC., and
             DOMINION VOTING SYSTEMS
             CORPORATION,
                                                                      Civil Action No.
                    Plaintiffs,                                 1:21-cv-02131 (CJN) (MAU)

                       v.

             PATRICK BYRNE,

                    Defendant.


                                                    ORDER1




                                             Motion for Protective Relief and to Disqualify Counsel, ECF

         No. 75, is GRANTED, and it is,

                 FURTHER ORDERED that                       Motion to Enforce the Protective and Status

         Quo Orders, ECF No. 108, is GRANTED, and it is,




         1
                 The District Judge referred all discovery disputes to this Court on January 31, 2024.
         01/31/2024 Minute Order. Because                  motions request sanctions against Lambert due
         to her conduct related to discovery, the District Judge specifically referred ECF No. 75 to this
         Court on April 15, 2024. 04/15/2024 Minute Order.
                                                        1

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                 FURTHER ORDERED                                         s for Leave to File Supplement, ECF

         Nos. 118 and 122, are DENIED WITHOUT PREJUDICE, and it is,

                 FURTHER ORDERED that the requirements set forth in the Status Quo Order, ECF No.

         77, at ¶¶ 1, 2, 4, 5, 6, 7 shall remain in effect through the resolution of this case, and it is,

                 FURTHER ORDERED that                                                                        and

         Byrne shall each provide a full accounting, in the form of sworn affidavits, by no later than August

         20, 2024 at 5:00 p.m. EST, detailing:

                         The date of any fee agreement between Lambert and Byrne and the scope of

                         representation or, if no such agreement exists, the date on which Lambert and Byrne

                         understand that a lawyer/client relationship had formed;

                         A

                         or Lambert accessed, on what date, and whether they were downloaded;

                         A complete and accurate list of all Dominion-produced documents and information

                         Lambert received and the method and date of access;

                         An account of every step Lambert has already undertaken or that is underway to

                         determine the scope of the breach and to ensure it is not continuing; and

                         An accounting attesting (i) to whom Lambert and/or Byrne leaked, released, or

                         otherwise disclosed documents or information protected by the Protective Order

                         (including in court filings in any cases outside of this case); (ii) how and when they

                         provided it; (iii) every occasion on which they did so; (iv) for each such instance,

                         what specifically was leaked, released, or otherwise disclosed; and, if any of those

                         individuals signed an Undertaking pursuant to the Protective Order. If so, Lambert

                         and Byrne shall attach the Undertakings to their affidavits.


                                                             2

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                 To the extent Lambert or Byrne claim any of the material above is protected by the

         attorney-client privilege or work product doctrine, Lambert shall provide a detailed privilege log

         setting forth all sufficient detail of the communication to allow Dominion to assess the claim of

         privilege. It is,

                 FURTHER ORDERED that to the extent Dominion wishes to propose any destruction

         protocol with respect to Lambert, it is ordered to do so by August 20, 2024, and it is,

                 FURTHER ORDERED that Lambert is hereby DISQUALIFIED as Counsel to Byrne in

         this matter effective immediately, and it is,

                 FURTHER ORDERED that Byrne shall notify the Court by September 13, 2024 whether

         he has retained new counsel or whether he intends to proceed pro se. If he obtains new counsel,

         that new counsel must enter their formal notice of appearance by September 13, 2024.

                 SO ORDERED.



         Date: August 13, 2024

                                                               ___________________________________
                                                               MOXILA A. UPADHYAYA
                                                               UNITED STATES MAGISTRATE JUDGE




                                                          3

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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA


             US DOMINION, INC., DOMINION
             VOTING SYSTEMS, INC., and
             DOMINION VOTING SYSTEMS
             CORPORATION,
                                                                         Civil Action No.
                    Plaintiffs,                                    1:21-cv-02131 (CJN) (MAU)

                       v.

             PATRICK BYRNE,

                    Defendant.


                                           MEMORANDUM OPINION

                 This case arises out of the 2020 U.S. election. Plaintiffs US Dominion Inc., Dominion

         Voting Systems Inc., and Dominion Voting Systems Corporation                         sue Defendant



                                  at election. Compl. (ECF No. 1) ¶¶ 152 163.1 Among the statements at

         issue are those in which Byrne claimed that Dominion ran the 2020 election; Dominion technology

         was developed by Hugo Chavez in Venezuela

                                            at 34. Dominion asserts that these statements are false and not

         only harmed its reputation and business, but also resulted in serious threats to its employees, their

         families, and election workers. Compl. ¶¶ 126 51.




         1
                The other cases that are consolidated or coordinated for discovery are: Dominion, et al. v.
         Herring Networks, Inc., et al. (21-cv-2130); Dominion, et al. v. MyPillow, Inc., et al. (21-cv-445);
         Dominion, et al v. Powell, et al. (21-cv-040); and Dominion, et al. v. Giuliani (21-cv-0213). The
         Giuliani case is stayed pending bankruptcy proceedings. For all citations not otherwise specified,
         the Court cites to docket entries in Case No. 21-cv-2131 and page numbers in ECF headers.

                                                          1

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                 This litigation has been ongoing for nearly three years and is currently in discovery. This

         dispute centers on that discovery process, specifically repeated instances of non-compliance with

                            governing the disclosure and use of discovery material. From June 2023 until

         March 2024, all counsel and Parties in the case (including Byrne) seemingly abided by the

         Amended Protective Order                         governing discovery. ECF No. 46. Before even

         her first appearance in this case on March 12, 2024, however, Byrne         new counsel, Stefanie

         Juntt                            , began openly violating orders, including by disseminating

         protected discovery material. ECF Nos. 71; 75; 82; 102; 108; 113.

         thousands of documents                                          which all Parties, including Byrne

         himself, had agreed to keep confidential, have now been shared widely in the public domain.

         Lambert and Byrne continue to evade the Protective Order and this           March 19, 2024 Order

                                that prohibits further dissemination until resolution of this Motion. ECF

         Nos. 75; 77; 82; 102; 105; 108; 113.



         Counsel. ECF No. 75. Although Byrne has violated the Protective Order as set forth below, the

                                                        . And what, if any, sanction Dominion might seek

         against him is not before this Court at this time.2 The only questions currently before the Court

         are whether Lambert violated court orders and rules, and if so, whether she should be disqualified

         from this case.

                 The remedy Dominion seeks,               disqualification

         in this case, is extraordinary and rarely granted outside of cases involving conflicts of interest.




         2
                Dominion has reserved its right to seek additional sanctions against Byrne and requested
         additional discovery into his conduct, including what led to the ultimate disclosures.
                                                          2

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         Nevertheless, the record clearly shows that Lambert deliberately violated multiple court rules and

         orders and continues to do so despite having had ample warning of the consequences and assuring

         the Court she would comply.                         misconduct raises the serious concern that she

         became involved in this litigation for the sheer purpose of gaining access to and publicly sharing

                                            Because                               misconduct has already

         and will undoubtedly continue to                    proceedings, this is the rare case in which

         disqualification is warranted. Koller By and Through Koller v. Richardson-Merrell, Inc., 737 F.2d

         1038, 1056 (D.C. Cir. 1984), vacated on other grounds, Richardson-Merrell, Inc. v. Koller, 472

         U.S. 424 (1985).                        GRANTED.

                                                BACKGROUND

                The relevant facts are largely undisputed.

                                                Protective Order

                The Court initially entered the Protective Order in three related cases (which are now

         coordinated or consolidated for discovery) on December 6, 2022. ECF No. 152 in Case No. 21-

         cv-445 (applying to Case Nos. 21-cv-445; 21-cv-213; and 21-cv-40). On June 8, 2023, Dominion

         and Byrne jointly moved the Court to enter the December 2022 Protective Order in this case. ECF

         No. 45. Per the stipulation, Byrne expressly agreed:

                The Order governs the handling of Discovery Materials within the Consolidated
                Cases and allows the parties to the Order to share Discovery Materials between
                those three actions but prohibits persons or entities receiving Discovery Material
                produced in the Consolidated Cases from using those Discovery Materials outside
                of those three cases, except as specifically provided by the Order.




                                                         3

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         Id. at 1 2 (emphasis added). Dominion and Byrne requested that the Protective Order be entered

                                                                             Id. at 2. The Court granted the

                                                                  in this case on June 16, 2023. ECF No. 46.3

                 The Protective Order states:

                 1. Any Discovery Material produced in the Litigation will be used, except by the
                 Producing Party, solely for purposes of this Litigation and no Receiving Party will
                 provide Discovery Material to any person or entity (including for any other
                 litigation) or make any Discovery Material public except as permitted by this Order
                 and in this Litigation.

         ECF No. 75-7 ¶ 1 (emphasis added).



                 [D]ocuments, testimony (in any form whether by affidavit, declaration, or
                 deposition), exhibits, transcripts, written discovery requests, interrogatory
                 responses, responses to requests for admission, responses to requests for
                 documents, and any other information or material produced, given, or exchanged,

                                                          -Party providing Discovery Material (each
                                                                                              terial
                                     .

         Id. at 4.

                 Within the broad prohibition against using any Discovery Material outside of the related

         litigation, the Protective Order contains additional protections and procedures for the use of

         Confidential and                                     materials. ECF No. 75-5. The Protective Order

         also sets forth procedures for how a Party can seek to challenge designations or disclose discovery




         3
                 Dominion attached ECF No. 46 to the Motion at issue because it was the operative
         Protective Order at the time. ECF No. 75-7. On March 21, 2024, after Dominion filed its Motion,
         the Court entered an amended Protective Order to which all Parties agreed. ECF No. 79. The
         Protective Order at ECF No. 79 is now the operative Protective Order but does not alter the relevant
         provisions of the initial Protective Order that has governed Party conduct in this case since June
         16, 2023. To avoid confusion, the Court will use the ECF citation and page numbers for ECF No.
         75-7 when citing to the Protective Order going forward.
                                                          4

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         notwithstanding the order. Id. ¶¶ 15, 16. Paragraph 16 sets forth procedures for a Party to object

         to the initial designation of discovery materials as protected. Id. ¶ 16. Specifically, it permits a

         Party to object to the designation of Discovery Material as Confidential or AEO by sending written

         notice to and meeting and conferring with the designating Party. Id. If this process does not

         resolve the issue, the objecting Party may file a motion with the Court to strike the designation

         within twenty-one days of the meet and confer. Id. Importantly, while the dispute is pending, the

                                                                                                    Id.

                 Paragraph 15 allows a Party to object to the continued restriction on public access to

         confidential/AEO discovery materials:

                 Any Party who objects to the continued restriction on public access to any

                 written notice of the objection to the Party that designated the Discovery Material
                 as Confidential or
                 that the Designating Party seeks to continue the restriction on public access to the

                 Designating Party will file an application with the Court within seven (7) days for
                 a judicial determination as to whether good cause exists for continued restricted
                 access to the Confidential Filing, or any portion thereof.

         Id. ¶ 15.

                 Paragraphs 8 and 9 permit Confidential and AEO material to be disclosed to certain people,

         some of whom must sign an Undertaking to gain access. Id. ¶¶ 8, 9. T

         providing, or disclosing Confidential or [AEO] Discovery Material to any person required to

         execute an undertaking . . . will be                                                       Id. ¶ 10.

                 Additionally, Paragraph 26 requires that if a person in possession of Confidential or AEO

         discovery materials that they did not produce receives a subpoena for those materials, they must:

         1) give notice of the request to the designating party within three business days (or 24 hours if the

         subpoena deadline is sooner);



                                                           5

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         Discovery Material on the grounds of the existence of this Order.      Id. ¶ 26. If the designating

         Party opposes enforcement of the demand, the burden of opposing the demand falls to them. Id.

         This provision does not require the person or Party who is subpoenaed to appeal an order enforcing

         the demand or to otherwise seek relief from compliance. Id.

                If a Party discloses discovery in violation of the Protective Order, the breaching Party must

                                                                              provide an accounting of the

         disclosure. Id. ¶ 27. Additionally, the order allows a non-breaching Party to seek sanctions against

         a breaching Party. Id. ¶ 29

         disclosing Confidential or [AEO] Discovery Material to persons or entities not entitled to such

         Discovery Material under this Order, the Court will have authority to impose sanctions under Rule

         37(b)(2)(A)(i)        .4

                According to Dominion, the Parties negotiated the Protective O                  the national

         security concerns regarding voting machine information and the personal security concerns for

         Dominion employees

         at 7. This concern is one of the reasons why the Protective Order applies to all discovery produced

                                                                                  [AEO]               75-7 ¶

         1; id. at 3 4                                                                                   that

         certain information they have produced or will produce may contain information that is

         proprietary, commercially sensitive, or non-public . Significantly, after stipulating to it, Byrne




         4
                 As the plain language of Fed. R. Civ. P. 37(b)(2)(A)(i) (vi) permits sanctions against
         parties for discovery-related misconduct or disputes, Dominion relies in this Motion
         inherent authority to regulate counsel before it.
                                                          6

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         never objected to the Protective Order. He never asked the Court to amend or lift the Protective

         Order until after                                                                     .5

                 In addition to the Protective Order governing all party discovery, Dominion sought and

         obtained another protective order in the MyPillow litigation specifically related to third-party

         discovery. See ECF Nos. 145; 147; 149; 153; 154; 156; 157; 159 in Case No. 21-cv-445. This

         was in response to certain third party subpoenas issued by Defendants Michael J. Lindell and

                                             in Case No. 21-cv-445. After several rounds of briefing, the

         Court entered the separate protective order governing third-party subpoenas in the MyPillow

         litigation          -                     . ECF No. 159 in Case No. 21-cv-445.

                                            Lambert Enters the Case

                 Lambert first formally                                   counsel on March 12, 2024. ECF

         No. 71.                          , attorneys at McGlinchey Stafford PLLC

         withdrew the same day. ECF No. 72. Although Lambert did not appear in the case until March

         2024, it is undisputed that she had been working with Byrne and his team for some time prior to

         that date, unbeknownst to Dominion. ECF No. 75 at 3. McGlinchey and Lambert have both

         acknowledged that Lambert

                                                            prior to her formal entry of appearance in March

         2024. ECF No. 75-8 at 2. Neither Lambert nor McGlinchey has provided an exact date for when

                                                                        That said, the record is clear that

         McGlinchey gave Lambert access to                                            after she signed the

         Undertaking pursuant to the Protective Order on December 12, 2023. ECF Nos. 75-9; 103 at

         27:10 19.



         5
                 Byrne filed a Motion to Lift Protective Order on April 18, 2024. ECF No. 90.
                                                        7

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         of June 16, 2023

         Material, and Attorneys Eyes Only Material only as the Order permits                -9 (emphasis

         added). Lambert does not dispute that she executed the Undertaking months before she disclosed

         the documents in March 2024. ECF No. 103 at 58:25 59:6.

                Dominion did not have notice that Lambert had access to its discovery and had signed the

         Undertaking until McGlinchey notified Dominion of the alleged breach on March 11, 2024. ECF

         Nos. 75-8 at 2; 78 at 20:13 17 (     LAMBERT JUNTTILA: And for the record, your Honor, I



                              In fact, it appears that Dominion did not even know Lambert was involved

         in this case until after she had released countless Dominion discovery documents to a third party

         and inflicted damage Dominion could not undo. ECF Nos. 75 at 3; 75-8 at 2.

                       Lambert Publicly Disseminates Confidential Discovery Material

                On March 11, 2024, McGlinchey notified Dominion that Lambert had publicly disclosed

         its discovery. ECF No. 75-8 at 2. McGlinchey

                                                                                                   Id.




         Id. McGlinchey notified Dominion that Lambert had disclosed

         in two ways. First, Lambert included the documents in a public filing as part of a Michigan

         criminal case in which she had been indicted on four felony counts related to the 2020 U.S.


                                                        8

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         election. Id. (citing People of the State of Michigan v. Stefanie Lynn Lambert Junttila, Michigan

         Case No. 2023-285759-FH).6 Lambert filed a pro se motion in that case on March 8, 2024 and

         attached                                      as an exhibit. Id. at 5 63. Second, Lambert shared

         the documents with Barry County, Michigan                                 , an individual who has no

         role in this litigation, who went on to disseminate and discuss the documents in public. Id. at 2.

                That same day, March 11, 2024, Dominion counsel responded to McGlinchey to request

         more information on the breach and to confirm that Lambert no longer had access to

         Litigation Documents. ECF No. 75 at 11 12. McGlinchey withdrew from the case before

         responding. Id. When Lambert entered her appearance, Dominion counsel emailed Lambert and

         McGlinchey to again request information about the scope of the breach. Id. at 12. Lambert

         responded, but refused to provide the requested information. ECF No. 75-3. Instead, she wrote:

                Hi [Dominion Counsel],

                I had assumed that you, as counsel, were unaware of the criminal acts contained in
                discovery. These acts include, but are not limited to, perjury, fraud is [sic] services,
                wire fraud, and international interference in an election.

                If you were aware of the criminal acts, I will need to address fraud on the court and
                potentially accessory after the fact with threats of violating a protective order that
                does not extend to criminal acts committed by your client.

                My client insisted the evidence of criminal acts be provided to law enforcement.



                Please let me know if you need anything else.


         6
                  Lambert currently faces two sets of felony criminal charges in Michigan for allegedly
         attempting to interfere with voting equipment. On August 3, 2023, Lambert was indicted in
         Muskegon County, Michigan on four felony charges related to alleged tampering with voting
         systems following the 2020 U.S. election. ECF Nos. 75 at 14, 75-17, 75-18. Then, on May 8,
         2024, Lambert and her client, Stephanie Scott, a clerk in Adams Township, Michigan, were
         indicted on felony charges related to allegedly
                                           -16 at 5; 101-1 at 1.
         in the first of these criminal cases against her.
                                                           9

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                Sincerely,
                Stefanie

         Id.

                Neither Lambert nor McGlinchey gave Dominion information about the scope of the

         alleged breach or provided any assurances that Lambert could no longer access

         Litigation Documents. Id. On March 14, 2024, Dominion counsel sent letters to managers of

         document databases that Byrne used for discovery, with a copy to Lambert. ECF Nos. 75-13; 75-

         14. Dominion notified those database managers

         requested that the managers not allow Byrne and his legal team to access

         Documents. ECF Nos. 75-13; 75-14. Lambert wrote the database managers on March 15, 2024

         and insisted on maintaining access. ECF Nos. 75-15; 75-16. Lambert threatened

         that collaborates with [Dominion] to withhold discovery and to interfere with the disclosure of

         evidence in the case would be obstructing justice, and would therefore be accessories after the fact

                             ECF Nos. 75-15; 75-16.

                Between December 12, 2023 when Lambert signed the Undertaking and March 12, 2024,

         Lambert made no effort to raise with Dominion or the Court that she believed the documents were

         evidence of the                                                                                    ,

         as she now claims. ECF No. 103 at 35:7 9, 29:24 25, 46:6 8. Nor did she notify Dominion or

         the                                                                           [,] referring to Leaf.

         Id. at 40:17

                                 , 59:11 18. McGlinchey confirmed at the May 16, 2024                    May

         Hearing     that                                        it never sought to lift the Protective Order,




                                                         10

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         to de-designate any documents that were protected under the Order,

         whatsoever from the [P]rotective [O]rder on behalf of Mr. Byrne. Id. at 29:7 13.

                Instead, Lambert and Byrne unilaterally decided to disclose thousands, if not millions, of

                                            to third parties and then promote the public dissemination of

         the documents through those third parties. See generally ECF Nos. 75; 82; 102; 108; 113.



                On March 12, 2024,                                                        alleged breaches

                                                                 forthcoming discovery hearing on March

         18, 2024    March Hearing . On March 15, 2024, Dominion filed this Motion. ECF No. 75.

                                                          actions, but reserved the right to seek additional

                                                 Id. On March 18, 2024, Lambert filed an opposition on

         behalf of Byrne, shortly before the March Hearing. ECF No. 76. Although Byrne reserved the

         right to supplement his response, he did not file a timely supplement or seek leave to file a

         supplement out of time. On March 22, 2024, Dominion filed its Reply. ECF No. 82. Byrne then

         waited more than a month and ultimately sought leave to file a Sur-Reply on April 24, 2024. ECF

                                             ,                                                             -

         Reply. ECF No. 97.

                Hours before the March Hearing, Lambert posted the following on X:




                                                        11

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         ECF No. 82-5.

                   At the March Hearing, Lambert did not dispute that she: 1) signed an Undertaking verifying

         that she would comply with the Protective Order; 2) gained access to

         Documents; and 3) disseminated those documents in the manner Dominion alleged. ECF No. 78

         at 18:1 15, 19:8 25:18. She also disclosed details about the scope of her alleged breach for the

         first time. Id. at 31:19 32:4. She reported that she not only gave Leaf documents, but that she

         also gave him a username and password to the entire repository of                            gation

         Documents. Id. Lambert did not represent that she asked Leaf to sign an Undertaking pursuant to

         the Protective Order.

                   After Leaf gained access to                                  , Leaf created an X (formerly

         Twitter) account and shared links so that the public could download the documents. ECF No. 82

         at 6 7.                                        remain publicly available. ECF No. 103 at 18:3 12,


                                                           12

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         51:4 7. Leaf also sent a letter to House Judiciary Committee Chair Jim Jordan (R-OH) asking

         him to investigate              alleged illegal acts. ECF No. 82-6. As of the date Dominion filed

         its Reply on March 22, 2024                     t

         been viewed 473,000 times. ECF No. 82 at 8. According to Lambert, Byrne had reportedly also

         provided                                      to a U.S. Attorney and possibly others. ECF No. 78

         at 23:21 24:5. Although Lambert claimed she did not                                               , it

         became apparent that her accounting to the Court of her own actions was incomplete as well. Id.

         at 23:21 24:25.

                 Importantly, at no point did Lambert herself notify the Court, Dominion counsel, or

         McGlinchey that she intended to or had already disclosed                                      .

                                                 Status Quo Order

                 At the March Hearing, the Court ordered temporary protective relief to prevent any further

         dissemination                                                                    while the Court

         considered this Motion. ECF No. 77. Among other things, the Court ordered Byrne and Lambert

              immediately desist from sharing, distributing, providing access to or discussing any discovery

         material                                                                 Id. ¶ 1 (emphasis added).

         The Court ordered Lambert to ensure that any individual who had access to

         Documents or notes Lambert took on them not access or disseminate those materials, and that she

         sequester and secure the documents and any of her notes. Id. ¶¶ 4. 6. The Court ordered Lambert

         to                confer with her counsel in her Michigan criminal case regarding

         Litigation Documents         undertake every reasonable effort to remove such documents from the

         public record and file them under seal instead. Id. ¶ 3.




                                                             13

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                 Further, the Court ordered Lambert, Byrne, and McGlinchey to preserve all documents



         to, the release of any Dominion Litigation Documents in this case to any other entity or individual.

         Id. ¶ 7. Additionally, the Court ordered that, if                                             in any

         form not already accounted for, including with any                              of Lambert or Byrne,

                                                                  former attorney must immediately notify the

         Court. Id. ¶ 6.

                 Finally, the Court ordered that Byrne and Lambert file

                                                                                                           no

         later than March 21, 2024 at 5:00 PM EST. Id. ¶ 8. Both of them missed this deadline. See

         generally Docket in Case No. 21-cv-2131. On March 22, 2024, after the deadline had passed,

         Byrne and Lambert sought to extend the deadline to file their verifications. ECF No. 81. Byrne

         and Lambert asked the Court to extend this deadline to 5:00 PM on March 26, 2024. Id. The



         Again, Byrne and Lambert missed not only the Court-ordered deadline of 12:00 PM, but also their

         requested deadline of 5:00 PM. Lambert and Byrne did not file the verifications until 8:55 PM

         that day. Receipt for ECF No. 84. Though belated, Lambert and Byrne submitted statements in

         which              ied] that [they]



                                         Conduct After the March Hearing

                                     March Hearing nor the Status Quo Order deterred

         continued misconduct. Lambert and Byrne continued to discuss and disseminate the documents




                                                             14

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         and, in some cases,                                                           .7 For example, on

         March 19, 2024, the day after the March Hearing, Lambert made the following statements to ABC

         News:

                 There was no leak of data . . . I provided evidence of criminal acts to law
                 enforcement. The Dominion file contained evidence of perjury by John Poulos,
                 Dominion CEO, Honest Service Fraud, Wire fraud, etc. I m on my way back to
                 Michigan, and I look forward to truth and transparency for everyone.

         ECF No. 82 at 14, n.2 (emphasis added).8

                 Moreover, on March 22, 2024, Lambert appeared alongside Leaf on an interview that was

         posted on X. Id. at 14. During the episode of Joe Oltmann

         News, Oltmann encouraged all listeners to download the Dominion documents Lambert had

         released to Leaf and send them to every county in the United States. ECF No. 103 at 13:3 17. As

         Dominion counsel recounted at the May Hearing:

                 [O]n March 22nd, Ms. Lambert sat for an interview on Joe Oltmann Live, and, in
                 that interview, Mr. Oltmann turns to her at 42:25 and he says, We have evidence
                 from Dar Leaf, and way more that has not been released, and when he starts to
                 discuss the evidence, he hesitates and he turns to Ms. Lambert and he says, quote,
                  Stefanie, I didn t get it from you, I got it from Twitter, X, end quote. And Ms.
                 Lambert does nothing to stop him from then launching into a discussion of the
                 documents. In fact, Ms. Lambert follows up by telling Mr. Oltmann that he should
                 have Dar on the show himself, because he can go through the investigation. And
                 when Mr. Oltmann asks Ms. Lambert if Sheriff Dar Leaf is allowed to discuss his
                 investigation and evidence, Lambert says, Sheriff Dar Leaf can do whatever he
                 wants, it s his investigation.




         7
                 At the May Hearing, Dominion chronicled instances in which Lambert and Byrne
         continued to share and discuss the documents after the Status Quo Order. ECF Nos. 103 at 12
         13; 102-3; 102-12; 102-13; 102-14; 102-15. Lambert and Byrne do not dispute the authenticity of
         their posts; they merely argue their conduct is permissible. See e.g., ECF No. 103 at 34:17 25.
         8
                                                 Pro-Trump lawyer arrested on warrant after court hearing
         in separate case on Dominion leaks, ABC News, https://abcnews.go.com/US/lawyer-election-
         denier-center-dominion-voting-systems-leak/story?id=108270385
                                                        15

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         ECF Nos. 103 at 13:3 17; 102-9 at 29. After the Court gave her ample opportunity to explain her

         conduct, Lambert never contested that she made or shared any of the posts at issue, participated in

         any of the interviews, or otherwise engaged in the conduct that Dominion asserts violates the

         Protective and Status Quo Orders. No. 103 at 34:2 25.

                Further, Lambert did not remove or make any meaningful attempt to file under seal the

                                                                                  publicly-available pro se

         filing in one of her Michigan criminal cases. ECF Nos. 77 ¶ 3; 103 at 10:1 11:12. Lambert




         serious crimes in national history and are a m

         25, 30:4 15. Lambert did not inform the Court that she failed to comply with this requirement.

                For his part, Byrne reposted and continued to emphasize posts on X about

         Litigation Documents despite also promising that he would comply with the Status Quo Order.

                                                                                                   :




                                                          16

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         ECF No. 82-6.

                On March 19, 2024, Byrne reposted a video on X that was originally posted by Tina Peters

                     , a former County Clerk of Mesa County, Colorado who was indicted for allowing

         unauthorized access to Dominion machines.9 ECF No. 82-10. In that post, Peters used the name


         9
               Although the Court does not grant Dominion leave to file a third supplement, the Court
         acknowledges that Dominion alleges that in addition to representing Lambert in one of her criminal
                                                        17

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         and photo of a Dominion employee in Belgrade, Serbia. Id. Dominion asserts, and Lambert does

         not dispute, that this is a reference to Domini        Litigation Documents. ECF No. 82 at 12.

                On March 20, 2024, Byrne shared another post on X that named a Serbian Dominion

         employee and claimed connections between Dominion, vote counting software, and Serbia. ECF

         No. 82-12. Shortly after, Byrne responded to another X post about the source code protocol

         entered in this case. ECF No. 82-13

                                                                                               .

                                                    May Hearing

                On May 16, 2024, the Court held a hearing to entertain more fulsome argument on

                             , which had not been fully briefed at the time of the March Hearing. At the

         May Hearing, Dominion chronicl                                           and argued that

         actions violated the Protective and Status Quo Orders and her ethical obligations

         counsel. ECF No. 102. This included a detailed presentation in which Dominion offered a timeline

                                                       social media posts, interviews and other statements.

         Id.10 Although Lambert disagreed                                                            she did

         not dispute either the underlying conduct or the authenticity of any of the documents Dominion

         cited in its presentation. ECF No. 103 at 33:10 35:24.

                The Court reminded Byrne and Lambert that the Status Quo Order expressly prohibits them



         from Dominion in this case. ECF No. 103 at 60:11 62:25. The Court made clear that the




         cases, Hartman also represents Peters in her Colorado criminal case and has allegedly sought to
         10
                 The Court ordered Dominion to file its presentation and supporting evidence on the docket
         by the end of the following day. ECF Nos. 102-1; 103 at 65:13 66:6.
                                                           18

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         material in the Protective Order. Id. The Court confirmed with both Byrne and Lambert on the

         record that they understood these orders and would comply with them, especially the provisions

         prohibiting them from sharing, disseminating, or discussing discovery material. Id. Both Lambert

         and Byrne agreed. Id. The Court also gave both of them multiple opportunities to ask questions

         about the scope of the orders. Id. Lambert had no questions. Id. The only question from Byrne

         was what he should do

                                 Id. at 62:12 14. The Court reiterated that Byrne and Lambert must come

         to this Court first. Id. at 62:15 18. The Court warned the Parties that some of the actions

                                                                                            reiterated that



                              Id. at 62:15 23. Lambert thanked the Court and neither Lambert nor Byrne

         had any additional questions or apparent reservations. Id. at 62:24.

                                         Conduct After the May Hearing

                Despite assuring the Court that they understood and would comply with all of its orders,

         Lambert and Byrne continued to disregard them.

                For example, the morning after the May Hearing, Byrne shared a post on social media that

         included screenshots and discussions of                                    . ECF No. 105.11 On

         May 21, 2024, Dominion notified the Court of                      Id. On May 28, 2024, Lambert




         11
                  In the post, the user                          authenticated all of the data released by
                          in the May Hearing and included screenshots of                                  .
         ECF No. 105 at 3 n.1 (https://x.com/pjcolbeck/status/1791259014124187903), n.2
         (https://x.com/PatrickByrne/status/1791344198215500027),                     4                n.3
         (https://x.com/pjcolbeck/status/1791290146647593410).
                                                         19

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                                                                     Lambert did not dispute that Byrne shared

         the posts containing                                                arguing:



                  precisely because the orders [sic] did not disseminate further information beyond
                  that which the Court has already taken account of in its previous orders . . . Dr.
                  Byrne did not post any new information, and the reposts constituted information
                  that was already in the public sphere. Thus, not only has Mr. Byrne not violated
                                                                                                new
                  information in contravention thereof.

         Id. at 1 2 (emphasis added).12

                  In other words, because the documents were already in the public domain due to Lambert

         own unilateral actions, Lambert argued that they were no longer subject to the strictures of the

         Protective Order. In making the argument, Lambert relied on an exception to the Protective Order

         that did not exist. Nothing in                                                  s shields a Party from

         sanctions for reposting or sharing documents already made public due to that P

         of those Orders. Moreover, Lambert did not come to the Court to raise this question despite

         promising to do so at the May Hearing. ECF No. 103 at 44:6 22, 45:14 23, 46:3 12. Instead,

         she continued to assert a right to decide unliterally when she and Byrne could share

         Litigation Documents notwithstanding repeated Court Orders to the contrary.

                  Lambert did not stop there. In addition to attempting to excuse            violations of Court

         orders after the May Hearing, Lambert continues to attempt to

         Documents and other discovery herself. ECF Nos. 108; 113. These events are described in




         12
                  Lambert claims

                                                t received notice of the letter. Receipt for ECF No. 104. The
         Clerk                                                                              a letter instead of a
         motion      and instructed it to refile, which it did the following day. ECF Nos. 104; 105.
                                                            20

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                       July 5, 2024 Motion to Enforce the Protective and Status Quo Orders ( Motion to

                     and its July 23, 2024 Supplement to its underlying Motion for Protective Relief and to

         Disqualify Counsel and Motion to Enforce                    . ECF Nos. 108; 113. Notably, Byrne

         and Lambert do not dispute the facts in these briefs.13

                First, Lambert attempted or threatened

         response to a subpoena in                                              State of Colorado v. Tina

         Peters, Case No. 2022-CR-371 (Colo. Dist. Ct.) ( Peters Criminal Case ). ECF No. 108 at 2. On

         July 1, 2024, Lambert notified Dominion that                   subpoenaed Lambert to testify and

         produce documents in the Peters Criminal Case. Id. Paragraph 26 of the Protective Order sets

         forth procedures for how a Party must handle such a request. ECF No. 75-7 ¶ 26. Dominion

         responded and asked Lambert to confirm that she and her client would abide by the Protective and

         Status Quo Orders and not produce documents or other discovery materials to anyone. ECF No.

         108 at 3. Lamb                                                                      asserted that it

         was up to Dominion to file objections to the subpoena within forty-eight hours if it wanted to halt

         her compliance. Id. Dominion again pointed Lambert to the plain language of the Protective Order

         and asked her to confirm that she would comply with the requirement that she object to the

         subpoena. Id. Lambert repeatedly refused to confirm that she had and would comply with her

         obligations to object. Id. at 4. During these email exchanges, Lambert also argued that the



         13
                 In a one-page response to ECF No. 108, Lambert merely claimed that Dominion fails to
         request any new relief in its Motion to Enforce; she does not rebut any of the factual grounds for
         Dominion             . ECF No. 111. Even though she gave no justification for her request, the
         Court permitted Lambert to file a sur-reply to ECF No. 108 by July 26, 2024. Lambert belatedly
         filed the sur-reply and vaguely asserted                                                       but
         refused to provide confirmation based on privilege. ECF No. 117. The Court permitted Lambert

         not file any response, seek any extension, or otherwise indicate she would respond. 07/23/2024
         Minute Order.
                                                         21

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         materials were improperly labeled confidential or AEO, though she had not previously raised that

         argument in accordance with the process set forth in the Protective Order. ECF No. 108-12.

                  Second, Lambert attempted to disclose deposition testimony from Dominion CEO John

         Poulos             in response to a request from a Michigan State Representative, James DeSana.

         ECF No. 113 at 7 8. On July 12, 2024, Lambert notified Dominion that she received a request

         from                       deposition testimony. Id. Dominion objected to Lambert sharing the

         testimony on the same grounds as the first subpoena, as depositions clearly fall within the

         definition of protected discovery materials in the Protective Order. Id. In response, Lambert



                                                                                                  Id. She also

         asked Dominion to specify which portions of the deposition it objected to her sharing with DeSana,

         evidently still contesting that the Protective and Status Quo Orders apply to all discovery materials,

         despite the Court ordering otherwise. ECF No. 113-9 at 2 3.

                  As Dominion lays out in its Supplement, this request does not appear to be from the

         Michigan Legislature through any formal process or request, but instead is an email from an

         individual legislator. ECF No. 113.14 Dominion also pointed out that even if the request were



         as the Court expressly warned at the May Hearing. Id.; ECF No. 103 at 62:12 24. Because

         Lambert again would not confirm that she would comply with the Protective Order and object to

         the subpoena, Dominion                                                          The Court entered a

         minute order reiterating what it had previously ordered: that no discovery materials may be shared



         14
               Dominion points out that the Michigan Attorney General already dismissed a request by
         DeSana and others for the Attorney General to bring a criminal complaint against Dominion three
         months before. ECF No. 113 at 8.
                                                          22

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         Minute Order. The Court expressly prohibited Lambert from sharing

         DeSana without obtaining Court approval. Id. Lambert has not filed any request to lift the

         Protective and Status Quo Orders for this purpose. 15

                Finally, it recently came to light that                       another attorney who represents

         Peters in the Peters Criminal Case, is also                                                this case.

         ECF No. 113 at 3. Lambert never notified Dominion or the Court that Case is at all involved in

         this litigation. Dominion discovered this fact for the first time because Case filed a declaration in

         the Peters Criminal Case on July 10, 2024 stating:

                I am assisting Stefanie Lambert in her defense of Patrick Byrne in 1:21-cv-02131.


                Only Material onl
                by Dominion in 1:21-cv-02131. The emails appear to be mis-labeled

                                                             Order 6/16/23.

         ECF No. 113-4 at 3.                                                          about when Case joined

                          and what discovery he has accessed                                             ECF

         No. 113-5. She even objected to providing the Undertaking that Case supposedly signed to gain

                                                       Id. Nor has Lambert provided any details to the Court

                                    , despite the Court directly requiring Lambert to give a full accounting

         of who had                             gation Documents. ECF Nos. 77 ¶¶ 1, 6; 78 at 35:8 36:16.

                                       in this litigation is not only striking because Lambert hid this

         information from the Court. Case has also attempted to use processes from other judicial



         15
                  Instead, on July 19, 2024, Lambert filed a motion for leave to file an emergency motion to
         lift the Protective Order for the specific purpose of producing documents in the Peters Criminal
         Case. ECF Nos. 110 (not attaching the proposed motion to her filing); 116.
                                                           23

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         proceedings, such as the Peters Criminal Case, to access and release

         materials from this litigation. ECF No. 113 at 3. This includes the subpoena to Lambert that is

                                                           ECF No. 108. In summary, while Case is ostensibly

         working with Lambert to advise Byrne on this case and signed an Undertaking to comply with the

         Protective Order, he is also seeking to use

         in contravention of this         orders. Lambert is at least justifying, if not also facilitating, his

         efforts.



                    Because of Lambert and Byrne       actions

         widely available to the public. As Dominion points out, the documents and related commentary

         have been viewed hundreds of thousands of times. ECF No. 82. For example, on March 18, 2024,

         former U.S. National Security Advisor                                                          . ECF

         No. 82-                                                                 was viewed 887,200 times.

         ECF No. 82 at 15. In a March 18, 2024 tweet, the Election Integrity Force shared a link to

                                               Id. This tweet was viewed 121,600 times as of March 22,

         2024. Id. (citing ECF No. 82-15).

         2024 hearing was related to her leak of the Dominion documents instead of her open bench warrant

         in Michigan has more than one million views. Id. (citing ECF No. 82-16); see also ECF No. 102-



         she ended up leaving the                      .



         For example, a                                                                          which Byrne




                                                            24

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         retweeted. ECF No. 82 at 16 17 (citing ECF No. 82-10).16 Another

         address in Denver was posted online after being pulled from the leaked documents. Id. at 17.

         Another X user shared a letter from Leaf and added:

                                                                   Dominion President John Poulos

                dare you to sue me you crook. Dominion voting machines rig elections - we have
                proof.

         ECF No. 75-2. As Lambert and Byrne

         Litigation Documents and other discovery, threats persist:




         ECF Nos. 113 at 7; 113-7.

                                          Election-Related Conduct and Admonishments

                Dominion asserts that Lambert has a                                   . . . disregard for the

                                                                                                 before she

         entered her appearance in this case, she has shown a concerning pattern of conduct that gives the

         Court further pause that she would follow its orders.

                For example, in Pennsylvania, Lambert was involved in litigation related to two Fulton

         County commissioners              to allow unauthorized access to and copying of voting systems

         and data.                                               , 292 A.3d 974 (Pa. 2023). Lambert was


         16

                                            What Is Doxxing?, U.S. NEWS & WORLD REPORT (Dec. 16,
         2021) https://www.usnews.com/360-reviews/privacy/what-is-doxxing.
                                                         25

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         never admitted as counsel in the case because the court repeatedly rejected her pro hac vice

         applications. Id. In its decision affirming sanctions for other attorneys, the Pennsylvania Supreme

         Court remarked:

                Attorney Lambert may be every bit as culpable as Attorney Carroll, at least in the
                pattern of non-compliance that has led us to impose upon him joint and several
                responsibility with the County. That said, perhaps ironically, we must conclude that
                the failure by the two lawyers to convince the Special Master that Attorney Lambert
                should be admitted pro hac vice precisely because she failed to satisfy the
                requirements for applying for that status protects her from sharing responsibility
                with Attorney Carroll and the County. Had she gained admission, the result might
                have been different.

                But we are not powerless to call attention to Attorney Lambert s own role in the
                misconduct highlighted above. In King, the judge referred Attorney Lambert and
                co-counsel to disciplinary review both in Michigan and anywhere else they were
                licensed. We will do the same, transmitting a copy of this Opinion to the Michigan
                Attorney Grievance Commission.

         Id. at 1018 19.

                In Georgia, Lambert was mentioned in litigation related to the 2020 election and Dominion

         Voting Systems. See Curling v. Raffensperger, Case No. 1:17-cv-2989-AT, 2023 WL 7463462,

         at *23 24 (N.D. Ga. Nov. 10, 2023). Advocacy organizations and voters challenged state and



         software, policies, and practices as infringing their right to vote and have their ballots be reliably

         counted under the First and Fourteenth Amendments. Id. at *1 5. The U.S. District Court for the

         Eastern District of Georgia found that Lambert had directed the transmission of a disc drive with

         material from the Coffee County Elections Office, which uses Dominion systems, to a private

         investigator and digital security firm. Id. Due to these and similar actions, a cybersecurity expert,

         Dr. Alex Halderman, opined that

         that [had] copies of the Coffee County software and data . . . Id. at *24. As a result, because of

         these outside groups and individuals copying and distribution of the proprietary software that

                                                          26

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                                                                                          the risk that a future

                                                                         Id. (internal quotation marks omitted).

                             conduct in these cases reflects a concern that she has a personal stake in

         advancing her claims against Dominion, and that personal stake overrides her regard for court

         orders and rules even in the face of such admonishment.

                                                    ANALYSIS

                Dominion argues that Lambert and Byrne flagrantly and repeatedly disregarded court

         orders by leaking                                       to the public; there is no justification for these

         acts; these acts have continued to harm Dominion and its employees; and that, importantly,

                                                                     infect future proceedings, including by

         making it impossible to continue the discovery process. ECF Nos. 75; 78; 82; 103; 105; 108; 113;

         see also Koller, 737 F.2d at 1056. As a result, Dominion asks the Court to disqualify Lambert

         from this case as a sanction for her misconduct. ECF Nos. 75; 82; 108; 113. Lambert and Byrne

         dispute these arguments, asserting they did not violate any orders or rules and that, even if they

         did, their actions were justified. ECF Nos. 76, 97, 106, 111, 117.

                There are four questions for the Court: 1) whether the Protective Order applies to the

         documents Lambert and Byrne disclosed to third parties; 2) whether and to what extent Lambert

         violated any rules, law, or Court orders; 3) whether    if Lambert did violate rules, law, or orders

         there is any justification for her actions; and 4) whether to disqualify Lambert. The Court bases

                                                        .                      , however, is relevant because

         Lambert refuses to ensure he complies with                             , instead, attempts to justify his

         blatant violations with meritless and rejected arguments.




                                                            27

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             I. Scope of Protective Order

                     A. Legal Standard

                Federal Rule of Civil Procedure 26(c) provides that a court may enter a protective order

         upon motion if there is good cause. Fed. R. Civ. P. 26(c); see also Münchener Rückversicherungs-

         Gesellschaft Aktiengesellschaft in München v. Northrop Grumman Risk Management Inc., 312

         F.R.D. 686, 690 (D.D.C. 2015) [hereinafter Münchener

         efficient pre-

                      ; Seattle Times Co. v. Rhinehart, 467 U.S. 20, 34 (1984).

                This Court enforces protective orders consistent with their language. See, e.g., Pigford v.

         Veneman, 307 F. Supp. 2d 51, 55 (D.D.C. 2004) (holding that class counsel violated a protective

         order by disclosing certain documents to pro bono counsel when the protective order only

         permitted disclosure of documents from the government)

         disclosure of any materials obtained during discovery for any purpose other than litigation and to

         any person other than those associate

         scope violates the protective order. Dialog Information Servs., Inc. v. American Chemical Soc.,

         Case No. 90-cv-1338, 1991 WL 283718, at *2 (D.D.C. Dec. 19, 1991).

                B. The Protective Order Covers

                There is no reasonable dispute that the Protective Order governs

         Documents. Byrne and Lambert concede that a protective order is generally interpreted according

         to its plain language. ECF No. 76 at 20. They assert, however, that because Dominion discussed

         needing to protect trade secrets and proprietary information in a motion requesting a separate

         protective order, the Third-Party Protective Order, the Court should interpret the operative

         Protective Order in this case inconsistent with its plain language. Id. at 21 (citing ECF No. 145 in



                                                         28

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         Case No. 21-cv-445)

         specific situation and sought to encompass only very specific, technical information

                                                                                                  . Dominion



         two separate protective orders. ECF No. 82 at 21 22.

                The Court agrees with Dominion. It is clear from the record that, after the Parties

         negotiated a comprehensive Protective Order that applies to any Party-produced discovery,

         Dominion asked the Court to enter a separate protective order in the MyPillow litigation tailored

         to third-party discovery. Compare ECF Nos. 152 with 159 in Case No. 21-cv-445. There is no

         support for the conclusion that the MyPillow Third-Party Protective Order displaces this Protective



         and Joint Motion asking the Court to enter this Protective Order, noting that it

         or entities receiving Discovery Material produced in the Consolidated Cases from using those



         ECF No. 45 at 2 3.

         to the Protective Order, Byrne never took the position that the Order was limited in any way.

                                                                                                           ,

         purposefully ignores contrary evidence and authority,

         to the Court in his June 2023 stipulation. 17



         17
                Byrne and Lambert have had ample opportunity to correct their clearly implausible
         argument. ECF Nos. 86; 90; 97. Instead of addressing what can generously be seen as a
         misunderstanding of the docket, Byrne and Lambert have doubled down. ECF No. 116. They did
         so even after                                                           -cv-445 was plainly
         wrong. ECF No. 82. Lambert even continued to advance this theory at the May Hearing and

         ECF No. 103 at 37:7 8. This is again clearly contradictory to the joint stipulation.
                                                         29

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             II.      Violations of Rules, Laws, and Orders

                      A.                                       Orders

                   Dominion asserts that, through her actions, Lambert violated multiple rules and court

         orders, including                                                        3.4(c), DCRPC 8.4(d), the

         Protective Order, and the Status Quo Order. Lambert does not dispute that she committed the acts

         at issue; she argues instead that that her actions were permissible. Apart from the alleged violations

         of DCRPC 8.4(d), Dominion discussed these violations in its briefing at ECF Nos. 75, 82, 96, 105,

         108, and 113. Specifically, Dominion alleges that Byrne and Lambert violated ¶¶ 1, 8, 11, 15, 26,

         and 27 of the Protective Order, and ¶¶ 1

         alleged violations have been ongoing, Dominion introduced recent evidence of such actions at the

         May Hearing and have supplemented with additional evidence since then. ECF Nos. 102-1; 105;

         108; 113. At the May Hearing, Dominion also discussed how Lambert allegedly made multiple

         misrepresentations to the Court, conduct which violates DCRPC 8.4(c). The Court has permitted

         Lambert to respond to these allegations, and Lambert continues to maintain that her actions were

         permissible, justified, and necessary to report evidence of an allegedly grave crime. ECF Nos. 76,

         97, 106, 111, 117. In the past two weeks, Dominion has sought leave to file two additional

         supplements detailing additional alleged misconduct. ECF Nos. 118; 122. Despite the severity of

                                                                                                        in the

         interests of ending the ongoing cycle of alleged misconduct by resolving this underlying Motion.

                           1. Violations of Protective Order

                   Lambert and Byrne have violated a number of the provisions of the Protective Order. ECF

         No. 77 ¶¶ 1, 8, 11, 15, 16, 26, and 27.




                                                          30

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                First, Lambert and Byrne disclosed and promoted the public dissemination of

         Litigation Documents in a manner the Protective Order does not authorize. ECF Nos. 75 at 9 12,

         82 at 6 17. The Protective Order prohibits disclosure of discovery outside of the Parties to the

         litigation and, even within those parameters, limits the purposes for which confidential material

         may be used. ECF No. 75-7 ¶¶ 1, 8. Lambert violated these provisions by attaching to a pleading

         in her criminal case in Michigan a declaration from Leaf that included

         Documents as exhibits, providing Leaf with access to the document repository, and sharing social

         media posts that include the disclosed documents. Id.

                Second, they did not notify Dominion that they intended to disclose any Confidential

         Discovery Material prior to disclosing it or schedule a time to meet and confer on the proposed

         objections to the documents.18 These were documents Dominion had produced that it reasonably

         believed would be handled pursuant to the terms of the Protective Order. ECF No. 75-7 ¶¶ 15, 16.

         Third, Lambert and Byrne failed to come to the Court, as the Protective Order expressly requires

         in the event of an objection, to seek an Order de-designating the documents or allowing Lambert

         to disseminate these documents to a third party. Id.

                Fourth, Byrne and Lambert did not immediately notify Dominion once they disclosed

                                Documents. ECF No. 75 at 12 13. It is notable that Lambert and Byrne

         even failed to notify McGlinchey     who represented Byrne at the time they began to make the

         disclosures   that Byrne or Lambert planned to and                                              .

                                                                                  saw a social media post



         18

         addition to other documents covered by the Protective Order. First, Lambert admits to giving Leaf
         access to the entire repository                                                 78 at 31:19 32:4.
                                                                                             pro se in her
                                                                             -8 at 5 63.
                                                        31

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         about                                     . It was not until this point that McGlinchey, not Lambert

         or Byrne, notified Dominion of the breach. Id. In addition, Lambert refused to

         questions about the scope of her breach. Id.; ECF No. 75-3. Instead, she

         [Dominion counsel] were aware of the criminal acts, I will need to address fraud on the court and

         potentially accessory after the fact with threats of violating a protective order that does not extend

         to the criminal acts                                          -3.

         violates Paragraph 27 of the Protective Order. ECF No. 75-7. Lambert only provided information

         about the scope of her possession and disclosures of the documents when the Court questioned her

         at the May Hearing. And now, it is clear that Lambert has still not disclosed the full list of



                                                                         13-4 at 3.

                 Fifth, Lambert has apparently refused to object to subpoenas that she has received for

                                                                             at 7, 8. Even though the Protective



         Lambert has repeatedly refused to confirm that she would do so. ECF Nos. 77 ¶ 26; 108 at 2, 3;

         113 at 7, 8. Lambert does not assert that she has objected to these subpoenas. Instead, she vaguely

         maintains that she will comply with the Protective Order. ECF Nos. 108-8; 117. This promise

         instills little confidence moving forward, as Lambert continues to rely on an interpretation of the

         Protective Order that the Court has rejected.

                        2. Violations of Status Quo Order

                 Lambert and Byrne have also                         Status Quo Order, despite both verifying

         that they had and would comply with it. ECF No. 84. The Court will save for another day the

         absurdity of needing to require a barred attorney to independently verify that she will follow a



                                                          32

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         Court Order. To date, Lambert and Byrne have violated at least five of the eight specific

         requirements of the Status Quo Order: ¶¶ 1, 3, 6, 7, 8.

                First, as discussed, Lambert and Byrne missed multiple deadlines to submit their

         verifications. Notably, they only asked for an extension after their first deadline had passed. The

         delay in submitting the verification matters because Byrne continued to publicly discuss and share

                                                                     102-1 at 20; 103 at 11:13 12:14. And



         cavalier disregard for the judicial process in this case.



         confer with her counsel in that matter and undertake every reasonable effort to remove such

                                                                                       . 77 ¶ 3; 103 at 10:1

         11:12, 29:20 25, 30:4 15 (claiming that her

         Litigation Documents from the public docket in Michigan because he believed, like Lambert, they

         should remain publicly available.). Lambert made no effort herself to remove the documents from

         public access or raise the issue with the Michigan court, despite having filed them pro se. ECF

         Nos. 102-2; 103 at 10:1 11:12, 29:20 25, 30:4 15. Nor did she notify the Court or Dominion of

         her unilateral decisions to keep the documents on that public docket. ECF Nos. 77 ¶ 3 (Status Quo

         Order requirement); 84 (verifying Lambert had and would comply with all Status Quo Order

         requirements); 103 at 10:1 11:12 (explaining how Dominion learned Lambert did not remove the

         documents from the public docket).

                Third, Byrne and Lambert have continued to share or sponsor the dissemination of the

         documents publicly. ECF Nos. 77 ¶ 1; 103 at 12:15 22. For example, on March 19, 2024, Lambert




                                                           33

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         contained evidence of perjury by John Poulos, Dominion CEO, Honest Services Fraud, Wire

                                     -1 at 21; 103 at 12:23 13:2. On March 22, 2024, Lambert was a guest

         on a podcast during which host Joe Oltmann discussed the documents. ECF Nos. 102-1 at 22; 103

         at 13:3



         No. 103 at 13:3 17, 45:11 13. On April 7, 20

                                                  -1 at 23; 103 at 13:18 14:7. The title of the episode was

                                                                                       , and Lambert again

         discussed the documents she had disseminated. ECF Nos. 102-1 at 23; 103 at 13:18 14:7.

                   These actions remain ongoing. Immediately after Lambert and Byrne promised they would

         follow the Protective and Status Quo Orders, claimed to understand when the Court reiterated the

         broad scope of the Orders, and promised to seek Court guidance if there was any confusion, Byrne

         continued to share social media posts with and about the documents and Lambert attempted to

         justify his conduct. ECF Nos. 105; 106; see also ECF Nos. 108; 113. Significantly, neither

         Lambert nor Byrne meaningfully contest any of

         Lambert and Byrne do not, for example, contest the authenticity of their posts or re-posts on social

         media, interviews, appearances on various interviews or podcasts, etc. Nor have they argued that

         they did not participate in the conduct alleged or that any of the posts or statements are taken out

         of context.

                                             preserve all documents and communications relating to the



         Litigation Documents in this case to any other entity or individual.

         admitted at the May Hearing that she viewed part of a video that Byrne posted on social media on



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         Documents. ECF No. 103 at 47:2 48:10. Lambert represented to the Court that she directed Byrne

         to remove the video from social media. Id. Lambert did not ensure that she or Byrne preserved

         the video and has not provided the video to Dominion despite repeated requests. Id. By the time

         of the May Hearing, it appeared that the video no longer existed. Id.

         the video she directed her client to remove from social media renders the Court unable to assess

                                                                s. Based on her conduct and lack of candor

         with the Court, it appears this is entirely what Lambert was hoping to achieve. Id. at 48:6 10



                Fifth, Lambert failed to notify the Court if any other associate or affiliate had access to



         submitted a declaration in the Peters Criminal Case representing that he was an attorney assisting

                                      litigation, had signed an Undertaking to comply with the Protective

                                                                                     -4 at 3. Lambert did

         not

         Instead, after Dominion independently discovered that Case had access to its documents, Lambert



                     B. Lambert Has Violated the Rules of Professional Conduct

                        1. Standard

                The DCRPC, as adopted by the District of Columbia Court of Appeals, govern attorney

         conduct in this Court. LCvR 83.15(a). Attorneys practicing in this Court are subject to discipline

         for violations thereof. Id. DCRPC

         obligation under the rules of a tribunal except for an open refusal based on an assertion that no



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                                                 . Conduct 3.4(c). DCRPC 8.4(d) prohibits a lawyer from

                                                                                                 D.C. R. Prof.

         Conduct 8.4(d). The D.C. Court of Appeals has interpreted DCRPC 8.4(d) to require showing: (1)



         taints the judicial process in more than a de minimus                                        [s] upon

         the process to a seri                              In re Dobbie, 305 A.3d 780, 809 10 (D.C. 2023)

         (internal quotations omitted). DCRPC 8.4(c) prohibits attorneys from making misrepresentations

         to the court. D.C. R. Prof. Conduct 8.4(c).

                          2.             Misrepresentations to the Court

                Lambert has made many misrepresentations and misstatements to the Court. First, during

         the March Hearing, Lambert represented that her attorneys had publicly filed the motion in her

         Michigan criminal case attaching                                       , when in fact it was Lambert

         herself who filed the motion pro se. ECF No. 78 at 46:6 21 (clarifying how the documents were



                                  .   This misrepresentation is significant, as Lambert attempted to

         mischaracterize the facts to reflect that she was less involved in one of the first public disclosures

                                      Id. at 43:24 44:4 (

                      .

                Second, at the March Hearing, Lambert represented to the Court that the only two people

         who had access to the relevant materials                                     related notes were her

                     Stephanie Scott and Russell Newman                                            . ECF No.

         78 at 35:8 36:16. The Court and Dominion learned through McGlinchey

         2024, nearly two weeks later, however, that another alleged attorney for Byrne named Michael



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         Smith also had access. ECF No. 85 at 4. The Court also later learned that Lambert failed to advise

         the Court that Ms. Scott was not just an assistant to Ms. Lambert, but is also the former Clerk of

                                                        -defendant in her pending felony criminal case in

         Hillsdale County, Michigan. Ms. Scott and Lambert face charges for allegedly mishandling voter

         data without authorization in search of fraud. ECF Nos. 102-16 at 5; 101-1 at 1.

                As

                                                                               If Case was involved at the

         time of the March and May Hearings, Lambert misrepresented to the Court the entire universe of

                                                                            ECF No. 78 at 35:1 36:23. If

         Lambert gave Case access                                         after those hearings, she violated

         the Status Quo Order. ECF No. 77 ¶¶ 1, 6. Because Lambert refuses to provide any information

         on Case     involvement, the Court has no way of assessing which is true. In either scenario,

         however, Lambert has made material omissions to the Court.

                Third, in her verification that she and Byrne had and would comply with all provisions of

         the Status Quo Order, Lambert misrepresented that she and her client had complied with the Order.

         ECF No. 84. Lambert ultimately filed the verification on March 26, 2024, after engaging in much

         of the conduct described above. Id. For example, Lambert represented that she had and would



                                                                                        s. 77 ¶ 3; 84. Yet,

         Dominion presented evidence from the prosecutor in that case that neither Lambert nor her counsel

         attempted to place the documents under seal. ECF No. 102-2. Only after Dominion brought this

                                           Lambert admit that she did not remove this public filing. ECF

         No. 103 at 29:16 30:15 (asserting her counsel told her not to remove it). Even if Lambert had a



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                                                               (the Court has yet to hear one), she still

         misrepresented to the Court that she had complied with this requirement. ECF Nos. 77, 84. 19

                In addition, Lambert represented that she had and would comply with the requirement in

         the Status Quo Order that she not share, distribute, provide access to, or discuss the documents.

         ECF Nos. 77 ¶ 1; 84. But Lambert signed this verification after she had already violated it by

         giving an interview in which she discussed the evidence she believed existed in the Dominion

         documents. ECF Nos. 102-1 at 21; 103 at 12:23 13:2. After signing the verification, Lambert

         continued to publicly discuss the documents. ECF Nos. 102-1 at 23; 103 at 13:18 14:7.20

                Finally, as discussed above, Lambert assured the Court at the May Hearing that, going

         forward, she would come to the Court if there were any questions about what she or her client

         could do with the documents under the Protective and Status Quo Orders. ECF No. 103 at 44:6

         22, 45:14 23, 46:3 12. Byrne was physically present at this hearing and ostensibly heard

                     promises, having himself agreed to comply with the Orders moving forward. Id. at

         61:20 25. Only one day later, however, Byrne reposted screenshots of

         Documents to his hundreds of thousands of followers on X. ECF Nos. 105, 106. Byrne has not

         removed this post as of the issuance of this Memorandum Opinion. Lambert not only did nothing

                                                   has continued to justify his actions. ECF No. 106.




         19
                 Even if Lambert had offered legitimate grounds to keep the motion from her criminal case
         itself publicly available, this still does not explain why she would need to keep the attachment of
                                                             Documents included as exhibits also publicly
         accessible. As Dominion argues                                                  DCRPC 3.3, which
         imposes upon counsel a duty of candor to the Court. ECF No. 103 at 53:23 54:14.
         20
                 As the Court reminded the Parties at the hearing, the Protective and Status Quo Orders do
         not prevent the Parties or Counsel from discussing or criticizing the case in general, whatever their
         views may be. Therefore, the Court did not fault or prohibit Byrne from making statements related
         to issues presently before this Court, about the Court, Dominion, or this litigation generally.
                                                          38

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                The Court will not belabor this point by chronicling                           other apparent

         misrepresentations. Suffice it to say that                                reflect a deeply concerning

         pattern that does not appear to have any sign of stopping. Compare ECF No. 75-3, with ECF No.

         102-3 at 10 (differing accounts of whether it was Lambert or Byrne that insisted on disclosing

                                             ); compare ECF No. 25, with ECF No. 103 at 45:5 9 (differing



         evidence of national security or election crimes).

                        3.               Conduct Violates the DCRPC

                First, DCRPC 3.4(c) prohibits an attorney from

         under the rules of a tribunal except for an open refusal based on an assertion that no valid obligation

                             Prof. Conduct 3.4(c). As discussed above, Lambert repeatedly violated the



         violations of Rule 3.4(c) for all the same reasons discussed above. Specifically:

                        Lambert failed to notify Dominion that she planned to disclose any

                        Litigation Documents prior to disclosing them and arranging a time to meet and

                        confer, as required by the Protective Order. ECF No. 75-7 ¶¶ 15, 16.

                        Lambert failed to raise her objections with the Court and seek an order de-

                        designating documents or allowing her to disclose the documents to a third party,

                        as the Protective Order permits. Id.

                        Lambert publicly disclosed and promoted public dissemination of

                        Litigation Documents in a manner not permitted by the Protective Order. Id. ¶ 1.

                        Lambert refused to confirm that she would object to subpoenas as required by the

                        Protective Order. Id. ¶ 26.


                                                           39

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                        Lambert failed to immediately, or even at all herself, notify Dominion,

                        McGlinchey, or the Court after she disclosed the documents, as required by the

                        Protective Order. Id. ¶ 27.

                        Lambert failed to provide information about the scope of her actions and the breach

                        as required by the Protective Order. Id. ¶ 27.

                        Lambert failed to timely sign and file a verification she had and would comply with

                        the Status Quo Order, as required by that Order. ECF Nos. 84; 77 ¶ 8.

                        Lambert failed to immediately confer with her counsel and undertake every

                        reasonable effort to remove                                          from the public

                        docket in one of her criminal cases in Michigan, as required by the Status Quo

                        Order. ECF No. 77 ¶ 3.

                        Lambert continued to           e],

                                                             , as prohibited by the Status Quo Order. Id. ¶ 1;

                        ECF Nos. 102-1 at 21 23; 103 at 12:15 14:7, 45:11 13.

                        Lambert failed

                        motion, as required by the Status Quo Order. ECF No. 77 ¶ 7.

                        Lambert failed to immediately notify the Court that other associates or affiliates

                        had access to the documents, as required by the Status Quo Order. Id. ¶ 6.

              Although Lambert may argue that she violated the orders based on her assertion that no valid

         objection existed, any such argument is unavailing. As discussed below, Lambert has never

         offered a valid objection to either Order. Lambert has squandered any opportunity to defend her

         actions, claiming that she has no authority to support her conduct because there are no cases which

                                                       ECF No. 103 at 40:7, 46:23, 59:15. Even if a valid


                                                         40

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         objection to the Orders existed, Lambert at the very least acted in bad faith in the manner in which

         she disclosed the materials. If she had a valid objection, she would have first raised her objections

         with the Court instead of waiting until she caused irreparable damage

         Litigation Documents. Moreover, she confirmed at the May Hearing that she would comply with

         all of her obligations going forward and did not dispute the provisions in the Status Quo Order,

         further underscoring her lack of any valid objection to the orders. ECF No. 103 at 60:11 62:25.

         As set forth above, she promptly disregarded that Order shortly after making that statement.

              Second, DCRPC 8.4(c)

         dishonesty, fraud, deceit, or misrepresentation. D.C. R. Prof. Conduct 8.4(c); see also In re Ukwu,

         926 A.2d 1106, 1111 14 (D.C. 2007) (holding that an attorney violated DCRPC 8.4(c) by conduct



         lawyer], at a minimum, should have known were false            . As chronicled above, Lambert has

         repeatedly made misrepresentations to this Court by:

                      Representing that her attorney filed a motion with

                      on a public docket in Michigan instead of her having filed the materials pro se. ECF

                      No. 78 at 46:6 21.

                      Representing that only two people had access to

                      through working with her, when in fact at least a third attorney also had access. Id.

                      at 35:8 36:16; ECF No. 85.

                      Representing that she had                                                      who had

                                                                               immediately inform the Court

                      if others had access to the documents while withholding

                      the Court. ECF Nos. 77 ¶ 6; 84; 113-5.


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                      Representing that she and Byrne had and would comply with all of the provisions of

                      the Status Quo Order, despite the numerous violations discussed above. ECF No. 84.

                      Representing that she would come to the Court to seek guidance if she thought an

                      exception to the Protective Order or Status Quo Order existed before she or her client

                      took any action on the proffered exception, but failing to follow through on the

                      promise. ECF Nos. 103 at 44:6 22, 45:14 23, 46:3 12; 105; 106.

                Third, DCRPC 8.4(d)

                                                                        . Conduct 8.4(d). The Comment to

         DCRPC 8.4(d) includes failing to comply with court orders as conduct that seriously interferes

         with the administration of justice under DCRPC 8.4(d). Comment to D.C. R. Prof. Conduct 8.4(d)

                                                            seriously interferes with the administration of

         justice . . . include[s] acts by a lawyer such as . . . failure to obey court orders    As explained

                                                            in that she repeatedly violated court orders and

         made misrepresentations to this Court. See In re Dobbie, 305 A.3d at 809 10.

         bears directly on the judicial process, including the                                           and

         engage in discovery, presume other attorneys will comply with their ethical obligations, and rely

         on Parties following court orders. Id.                                                   had on this

         proceeding is severe, compounding, and shows every sign of continuing if she were permitted to

         remain counsel in this case. Id.21




         21
                 Although there is limited case law in this Court about when a DCRPC 8.4(d) violation
         occurs, especially under similar facts to the present case, the D.C. Court of Appeals has recognized
         violations for less serious conduct, for example, failing to appear at a hearing or interview when
         an attorney knew or should have known that they would be expected to appear. See In re Ukwu,
         926 A.2d at 1143 44.
                                                          42

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                      To put it simply, given her conduct, the Court has no confidence that Lambert will comply

         with                  Orders past or future

         that, instead, Lambert will continue to engage in tactics which taint and disrupt this judicial

         process. And it is not only the Court who cannot trust her tactics moving forward. Other Parties

         to the litigation cannot be sure that she will abide by the very agreements her client made (such as

         the Protective Order), having already flouted them in the most egregious manner.

               III.                  Justification for Violating Court Orders

                      None of the justifications Lambert has offered for her conduct, which as noted above is

         largely undisputed,

                         A.              Arguments

                      Lambert first argues that Dominion brought this Motion in bad faith to target her. ECF

         No. 76 at 26. She                             tactical effort to stifle the truth and to prevent undersigned

         counsel who has introduced and presented corroborating expert analysis of the deficiencies in

         Dominion voting systems, and now has fulfilled her ethical duty to report the discovery of potential

         criminal viol                                    Id. Lambert asserts that Dominion seeks to disqualify

         her                            ned knowledge and the information she possesses from litigating cases

         in multiple jurisdictions,

                                                                    ,

         and knowledge to defend Mr. Byrne . . . Id.22 Lambert

                                                       ad hominem               Id.; ECF No. 103 at 32:18 33:3.




         22

         machines, ECF Nos. 76-5; 76-6. It does not appear that these reports have anything to do with this
         Motion.

                                                               43

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                Lambert argues that neither she nor Byrne violated the Protective Order because the

         information was not covered by the Order. ECF No. 76 at 28. As explained above, this argument

         is meritless. Lambert asserts, alternatively, that any breach is justified under

                                                        public interest exception[,] which even the judiciary

                                                             Id. at 28,

         not more, important, the information in the production contains information concerning criminal

         conduct and collusion and conspiracy with and by foreign nationals in the conducting of U.S.

         elections and therefore fall within an exception for matters of national security and constitutional




                                                                                                             25.

         According to Lambert, this includes election fraud. ECF No. 76 at 30 32 (citing 52 U.S.C. §

         10308, but no authority supporting its relevance or application here). She asserts that

         nationals are entering election systems in the United States before certification of the 2020

         election,                                                                                   events. Id.

         at 29. She further claims that                                        . . . to hide these facts from the

                                                             Id.

                Lambert cites no authority for these broad and significant assertions. Although she

         references cases that recognize the fundamental right to vote and articulate the general elements

         of alleged crimes, she cites no authority for the proposition that she was justified as a matter of

         law in taking the actions she did. ECF No. 103 at 40:17 22; ECF No. 76 at 25 45 (failing to offer

         any authority to support there is (a) an exception to protective orders for reporting what an attorney

         suspects is evidence of crime to law enforcement; b) an exception for disseminating what an



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         attorney believes is evidence of election interference, or another topic of grave national interest;

         or c) because attorneys have an obligation to report such evidence of alleged criminal wrongdoing,
                                                                                          23
         it would have been improper for her to first seek review                              Instead, Lambert

         vaguely claims that her oath to the Constitution as an attorney required her to take the actions she

         did. ECF No. 130 at 36:5 13

         cite any relevant authority was simply, and repeatedly, that the fact that her actions are justified is

                                                                                                   . The Court

         addresses each of her arguments in turn.

                     B.

                As an initial point, Lambert     primary justification for her disclosures in violation of the

         Protective Order turns on she and Byrne

         akin to generally reporting evidence of a crime. ECF No. 103 at 34:17 25. Lambert cites no

         authority for this proposition or when such an exception may apply. This argument is flatly

         rejected.

                Even if Lambert had authority for this argument, it would still not justify her actions.

         Lambert and Byrne apparently did disclose the documents to some law enforcement officials

         Sheriff Dar Leaf and an unnamed Assistant U.S. Attorney        the extent of their disclosures is much

         broader. Lambert and Byrne have both publicly disseminated and discussed the documents to

         advance their theories about the 2020 election. This includes Lambert submitting an affidavit from

         Leaf in her pro se filing in one of her own criminal cases in Michigan. Both Lambert and Byrne



         23
                 Lambert does not cite to any controlling authority in her discussion of the legal standard
         for disqualification. ECF No. 76 at 25 (citing cases from the Eleventh, Fifth, Second, and Sixth
         Circuits). Lambert repeatedly uses quotation marks or otherwise implies she is directly citing a
         source without actually citing a source. Id. at 15, 20, 29.

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         have publicized         efforts to share the documents widely to non-law enforcement audiences.

         Accordingly, her argument that she was duty-bound to disclose the documents to law enforcement

         rings hollow in light of her subsequent actions.

                     C. Lambert Fails to Substantiate Her Arguments About Evidence of Crime

                Lambert

         Litigation Documents contain evidence of national security crimes. She has not, for example,

         pinpointed certain documents and made an argument that they meet the elements of any particular

         crime. Nor has Lambert explained why, when faced with these documents supposedly reflecting

         serious crimes of national importance, she chose to disclose them to a single county sheriff in

         Michigan as opposed to a national law enforcement agency such as the Federal Bureau of

         Investigation or Department of Justice. To the contrary, Lambert continues to advance these

         allegations despite being unable to point to any court authority that substantiates them.

                Lambert also argues

         18 U.S.C. § 1846. ECF No. 76 at 33. Specifically, she argues that Dominion gets paid for

         providing voting machines and systems for U.S. elections, but has colluded with foreign nationals

                                                                               as part of

                                                                    Id. at 33. Relatedly, Lambert claims

         Dominion may have engaged in honest services wire fraud in violation of 18 U.S.C. §§ 1343 and

         1346. Id. at 34 (claiming without authority that Serbia conspired to interfere in elections in

         Michigan and Pennsylvania). Further, Lambert argues Dominion engaged in a conspiracy to

         commit an offense against the United States or to defraud the United States, in violation of 18

         U.S.C. § 371. Id. at 35 36. Per Lambert, Dominion

         government functions,                                                                       ation of



                                                            46

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                                             Id. at 36 (alteration in original, but citing no source).24 Beyond

         her own speculation, Lambert does not substantiate these legal arguments in any way. And in any

         event, she still fails to offer any legal support for the proposition that, notwithstanding her alleged

         discovery of criminal activity, she could unilaterally disregard and bypass the Protective Order.

                     D.

                 Lambert

         vote,                                    evidence for how her unilateral actions further that right.

         Id. at 40. She discusses at length cases that recognize the fundamental right to vote, and there is

         no dispute that this right is fundamental. Id. at 32 45. But Lambert points to no authority for the

         proposition that these cases somehow authorize her to violate any court order just because she

         believes she has evidence of a vast criminal attempt to subvert this right. Id.

                            principal case, Ex Parte Yarborough, does not get her there. Lambert asserts

         that Ex Parte Yarborough held

                                                                    Id. at 32, 40 (citing Ex parte Yarborough,

         110 U.S. 651, 661 63 (1884

         to vote is actionable, and the judiciary has an express obligation to abide because it has a duty to

         ensure that the Constitutional rights of American citizens to vote and to have their votes properly



         24
                  Lambert makes various other arguments without citing any legal authority, including that:
         1) the Court should consider Dominion as a state actor, without providing any authority for how
         Dominion would clear the high bar the Supreme Court has set for such analyses; 2) all Dominion
         communications should be subject to FOIA; and 3) Dominion CEO John Poulos committed perjury
         in his testimony before the Michigan Legislature on December 15, 2020. ECF No. 76 at 37. On
                                                             t the voting systems and machines have the
         capacity to connect to the internet and the software was created and engineered by foreign
         nationals acting in concert with and for Dominion is sufficient in itself to lift the protective order
         and to allow disclosure of these email communications. Id. at 38.
                                                           47

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                                  25
                                       Yarborough was a habeas action in which the Court recognized

                                                                                    , not a case where a private

         attorney in a civil lawsuit took unilateral action to expose confidential documents subject to a

         protective order. See Ex parte Yarborough, 110 U.S. at 662.                    reliance on the case to

         support her conduct is unreasonable and borders on frivolous.

                                   right to vote cases are similarly irrelevant to the questions before this

         Court. In Reynolds v. Sims, the Supreme Court struck down voting districts in Alabama for

         violating the Equal Protection Clause of the Fourteenth Amendment by not apportioning districts

         on a population basis. 377 U.S. 533, 583 87 (1964). In Yick Wo v. Hopkins, the Supreme Court

         recognized that, although it is not enumerated as an express grant in the Constitution, the right to



         Supreme Court has repeatedly affirmed this holding. See e.g., Harper v. Va. State Bd. of Elections,

         383 U.S. 663, 667 (1966). Again, nothing in these cases excuses

                 Finally, even if Lambert had a valid                                                           ,

         she still has offered no viable, let alone meritorious, argument to justify all of her other misconduct.

         Her purported justifications do not excuse her other violations of the Protective Order, including

         the fact that she: a) did not notify Dominion of her intent to disclose the documents; b) did not

         seek Court approval to disclose the documents; c) refused to provide an accounting of the extent

         of her breach when Dominion requested it; and d) threatened




         25
                 In Yarborough, seven members of the Ku Klux Klan attacked a Black man to prevent him
         from exercising his recently-recognized right to vote. 110 U.S. at 657 67. The KKK members
         were convicted of violating federal laws protecting the right to vote, and they subsequently filed
         habeas petitions challenging their convictions. See id. The Supreme Court rejected the
         arguments, holding that Congress properly acted within its authority to pass criminal penalties for
         certain conduct interfering with the right to vote. See id.
                                                           48

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         management company with criminal penalties if they impeded her access to the documents. Nor

         do they address her subsequent misconduct and violations of court orders, despite her repeated

         assurances to the Court that she understood her obligations and would comply with

         orders.

             IV.      Disqualification

                   Because the Court concludes that the Protective Order governed the documents, Lambert

         repeatedly violated that and other court orders, and that there is no justification for her actions, the

         Court now considers whether to disqualify Lambert.

                      A. Legal Standard



                                     Koller, 737 F. 2d at 1054 (citing Groper v. Taff, 717 F.2d 1415, 1418

         (D.C. Cir. 1983)); Chambers v. NASCO, Inc., 501 U.S. 32, 43 46 (1991) (discussing the c

         longstanding inherent authority to sanction misconduct before it); United States v. Philip Morris Inc.,



         authority. First . . . the local rules of the court in which they appear . . . Second, because motions

         to disqualify counsel in federal proceedings are substantive motions affecting the rights of the

                                                                                                Paul v. Judicial

         Watch, Inc., 571 F. Supp. 2d 17, 20 (D.D.C. 2008) (internal quotation marks omitted) (citing case

         law from the Tenth, Fifth, and Eleventh Circuits).

                   The D.C. Circuit has held that disqualification should be granted rarely absent

                                                                                       her ability to zealously

         represent a current client. See Koller, 737 F.2d at 1056. As the Circuit has held, [e]xcept in cases

         of truly egregious misconduct likely to infect future proceedings, other means less prejudicial to



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         the client s interest than disqualifying the counsel of [his] choice are ordinarily available to deal

                                                  Id. (emphasis added). In so stating, the D.C. Circuit cited

         with approval language in a Second Circuit decision:

                Indeed, we see much wisdom in the view expressed by Judge Mansfield in
                concurrence:

                 The attorney is the client s choice. Disqualification is wasteful and time-
                consuming. Only where the attorney s unprofessional conduct may affect the
                outcome of the case is there any necessity to nip it in the bud. Otherwise
                conventional disciplinary machinery should be used and, if this is inadequate, the
                organized bar must assume the burden of making it effective as a deterrent.

         Id. (citing Board of Education of New York City v. Nyquist, 590 F.2d 1241, 1247 48 (2d Cir.1979)

         (internal quotations omitted).

                Although it is rare,                             prohibit[ed] disqualification outside of the

                                             Paul, 571 F. Supp. 2d at 24 (emphasis in original); see also

         Koller, 737 F.2d at                                               . . . [that] do not clearly violate a



         disqualification) (emphasis added).

                      B. Disqualification is Warranted

                Dominion acknowledges that disqualification is an extraordinary remedy. ECF No. 75 at

         21. Dominion argues, however, that disqualification is necessary here

                                                          Id.                                                  -

         documented historical efforts to obtain and misuse Dominion confidential information, her pattern

         of disregard for judicial rules, and her willful and ongoing violation of the Protective Order in this

                Id.                                                                   . . . has already and will



         21. According to Dominion, although                                           the requirements for a

                                                          50

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         contempt citation

         contempt is insufficient because Lambert has repeatedly shown she will violate court orders

         without regard for the consequences. ECF No. 75 at 21 22 (citing Pigford, 307 F. Supp. 2d at 55

         56). Additionally, Dominion argues that it cannot entrust Lambert with highly sensitive and



                                    . Id. Lambert, on the other hand, has no meaningful response as to what

         would be appropriate if the Court finds sanctions are warranted. ECF Nos. 76; 97; 106; 111; 117. 26

                There is no question that disqualification is a rare sanction. See Koller, 737 F.2d at 1056.



                             such that her continued involvement would                           . Id. The

         Court agrees with Dominion that no lesser sanction will suffice. There are at least five reasons

         that illustrate why                            e high bar for disqualification: 1

         of the Protective Order was intentional, had significant consequences, and was without

         justification; 2) Lambert has since repeatedly violated court orders and made misrepresentations

         to the Court; 3) Lambert     prior conduct and admonishment undermines her argument that she

         acted in good faith                                                            ; 4) Lambert has not



         most appropriate; and 5)                                  severely tainted this proceeding and will

         continue to do so if she remains counsel in this case.



         26
                  Byrne first sur-reply raises a new procedural argument that Dominion improperly
         combined a motion for protective relief and disqualification in a single filing. ECF No. 97. Byrne
         has no excuse for waiting to raise this until six weeks after Dominion filed its Motion, and not in
         his first response. Byrne also alleges that Dominion improperly raised certain additional issues ex
         parte
         opportunity to respond. Id. As detailed herein and on the docket for this case, Byrne and Lambert
                                                                             .
                                                          51

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                        1.                                       Initial Misconduct

                The record is clear that               initial breach of the Protective Order     disclosing

         anywhere between thousands and nearly three million of Dominion                   ocuments before

         she even entered her appearance in this case     was massive and intentional. ECF No. 96 at 3

         (describing how many documents Dominion has produced in discovery). Most, if not all, of the

                                    Confidential    ECF No. 82 at 20. Lambert was only allowed to access

         the documents after she signed the Undertaking confirming that she would comply with all

         provisions of the Protective Order. ECF No. 75-9. Yet she blatantly disregarded this Order and

         her guarantee that she would comply with it. This is not a case of an inadvertent breach or good

         faith disclosure; it is unfathomable for Lambert to believe she could do whatever she wanted with

                                                        actions were intentional and clearly meant to inflict

         the harm that has resulted. Moreover, there is no dispute that the dissemination of the documents

                                                                                    severe threats.



         on the grounds that she was engaging in zealous representation of her client within the bounds of

         the rules and orders governing attorneys in this Court. If anything, it appears she was zealously

                                                                         outside those boundaries.

                        2.                         and Remorseless Misconduct

                Even if Lambert            actions could be excused in some way, her repeated violations of

         numerous provisions of the Protective and Status Quo Orders since then demonstrate that the Court

         cannot trust her to follow orders if she were permitted to remain in this case.

         are particularly concerning given her representations      both orally and in writing        that she

         understood her obligations and would abide by them. The Court has no reason to believe Lambert



                                                         52

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         when she promises she will

         this promise repeatedly. See, e.g., ECF No. 103 at 44:18

                            45:14 23. Not only does Lambert maintain that she did nothing wrong and that

         her actions were necessary, she clearly believes that                         Orders and procedures

         will result in greater harm than proceeding according to her own view of the world:

                If I were to go to the counsel for the criminals and let them know that I believe there
                is evidence of a crime that I want to report to the police, that could result in a
                destruction of evidence, criminal actors fleeing, hiding.

         Id. at 59:15 18. Lambert has even implied that this Court is obstructing her ability to comply with

                                      the Court were to rule that I was not able to report criminal acts with

                                                                                                          that

         would be obstruction    Id. at 39:22 40:1 (emphasis added). Even after being repeatedly warned

         and promising she would comply with Court orders or seek Court guidance if she had any

         confusion, Lambert continues to openly disregard court orders. At the May Hearing, Lambert even

         began to discuss

         Court abruptly stopped her because the courtroom had not been sealed. Id. at 37:21 38:13. As

         noted, after the May Hearing, Lambert continued to make baseless claims about the scope of the

         Protective Order and allow herself and Byrne to violate the Order repeatedly. ECF No. 106.



                                                               Paul, 571 F. Supp. 2d at 27.27 Moreover, this



         27
                 In Paul, this Court acknowledged that the D.C. Circuit had not determined whether
         violation of an ethical rule itself would be sufficient for disqualification, or if the conduct must
                                                     Paul, 571 F. Supp. 2d at 26 27. This question did not

                                                                                            Id. at 26.
         Here, there is ample evidence that Lambert has violated her ethical obligations and that her
         continued involvement would taint the proceedings moving forward.
                                                          53

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         Court views intentional violations of its orders as severe misconduct. Münchener, 312 F.R.D. at

         686 89 (discussing

                                                        Stone v. U.S. Embassy Tokyo, Case No. 19-cv-3273,

         2021 WL 1110735, at *1 4 (D.D.C. Mar. 23, 2021) (describing how a pro se

         intentionally and publicly disclosing provisions of a protected government document and

         indicating he would not comply with court orders was severe enough to warrant dismissal as a

         sanction if the case were not already dismissed); Young v. Office of U.S. Senate Sergeant at Arms,



                                                                                                 . Lambert

         clearly views compliance with Court Orders with which she does not agree as optional, which is



         she has already demonstrated a willingness, if not determination, to do whatever it takes to advance

         her theories

         parties adhering to their rules, obligations, and the law.

                        3. Prior Conduct and Admonishment



         itself to warrant the sanction of disqualification. That said, in considering sanctions in other

         contexts (i.e., Rule 11)




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                          Lambert herself has referenced her conduct in other proceedings as being relevant

                                          . ECF Nos. 76 at 9 10, 24 (arguing that Dominion is engaged in

         a conspiracy to prevent Lambert from being involved in such cases with others including the

         Michigan Attorney General); 103 at 32:24 33:3

         Dominion and others attack her), 41:19 42:12 (claiming that Dominion is only seeking to

         disqualify her because of her work on election cases).

         every time she encountered any sort of grievance or discipline, the Pennsylvania and Georgia

                                                                                                   ECF No.

         103 at 32:24 33:3; Cnty. of Fulton, 292 A.3d at 1018 19; Curling, 2023 WL 7463462, at *23

         24.

                                                                                                       ECF

         No. 103 at 46:1 2.

                        4.



         motion and addresses only certain arguments raised by the [other Party], a court may treat those



         of Global Ministries, 284 F. Supp. 2d 15, 25 (D.D.C. 2003),       98 Fed. Appx. 8 (D.C. Cir. 2004).

         Dominion has put forth a compelling case for why the Court should disqualify Lambert and why

         lesser sanctions are insuff

         about the insufficiency of any lesser sanction beyond disqualification, and she has not otherwise

         asked the Court to consider any lesser sanction. Cf. ECF No. 76.




                                                         55

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                In fact, Lambert herself has acknowledged that disqualification might be an appropriate

         sanction. At the May Hearing, while Lambert was assuring the Court that she would come to it



         Court did not disqualify her based on her conduct to date, it could always do so in the future. ECF

         No. 103 at 49:2 15, 59:20         . . . but the Court needs to understand my mindset was in good

         faith, and the Court does have the ability to issue sanctions or remove me from the case should I

                                                                                 As set forth above, Lambert

                                                                                 undermine her claim that she

         has done everything in good faith.

                         5.             Egregious Misconduct Has and Will Infect These Proceedings

                Finally, as discussed extensively in this Memorandum and summarized below,

         conduct has already substantially infected and will continue to infect these proceedings. In her

         short time as counsel in this case, Lambert has caused exponential harm that cannot be undone.

         The Court                               mitigate the specific risk of future harm Lambert poses is

         by removing her from this case.

                First,

         case, if not also the coordinated/consolidated cases. ECF No. 81 at 5

         time to comply with the discovery scheduling due to the fact that he and undersigned are effectively



         (Docket No. 77), prohibiting any access to discovery materials and documents produced by

         Dominion (Dominion Discovery Materi              It is remarkable how

         misconduct completely subsumed what were supposed to be the final two months of discovery.

         ECF No. 60 (setting a discovery deadline of May 30, 2024); 06/13/2024 Minute Order (updating



                                                         56

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         the discovery deadline to September 30, 2024). Lambert did not enter her appearance as

         counsel until March 12, 2024. ECF No. 71. Five days later, this Court entered the Status Quo

         Order

         Since then, Byrne has



                 Dominion                                                          role in this case has also

         impacted their ability to zealously represent their client. ECF No. 103 at 20:3 10.

         counsel reports that

                                                                           . . . attorney on the other side is

                                           . Id. As for the Court,                                    it from

         considering other discovery issues in the consolidated or coordinated cases, as it has had to first

         address Lambert and                                                       . The Court has now held

         two multi-hour hearings and reviewed over 2,500 pages of briefs and exhibits related to the

         violations of the Protective and Status Quo Orders                other misconduct. See ECF Nos.

         75; 76; 78; 81; 82; 84; 85; 90; 92; 93; 94; 95; 96; 97; 98; 99; 100; 101; 102; 103; 105; 106; 108;

         110; 111; 112; 113; 114; 116; 117.28

                 Second, Lambert refuses to take any responsibility for her client repeatedly violating court

         orders. For example, the Court does not know the contents of a video Byrne posted to a social

         media platform on April 3, 2024 because Lambert directed Byrne to take down the video and did

         preserve a copy pursuant to the Status Quo Order and her obligations as his counsel. ECF No. 103



         28
                This list is nowhere near exhaustive. For example, the Court does not include ECF No. 86
         or ECF No. 87, which are prior motions that Lambert, on behalf of Byrne, erroneously filed and
         the Court rejected for failing to comply withs the Local and Federal Rules. Nor does it include
         other docket entries that the Court considered in the Lindell litigation. See e.g., ECF Nos. 145;
         147; 149; 152; 153; 154; 155; 156 in Case No. 21-cv-445.
                                                         57

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         at 47:2 48:10. Lambert stated that she only saw part of the video, so she could not answer

                                                                                        Id. She represented

         that, from the portions she did see,

         Court is ordering and that he believed that w                                  Id. It is difficult to

         fathom how,                                     video, Lambert would feel the need to advise her

         client to remove it from public view and fail to keep a copy. When asked about other social media

         posts, Lambert remarked:

                [M]y client posts frequently about many, many topics. I do not have time, nor do I
                want to bill him for babysitting his social media.

         Id. at 48:6 10. Indeed, the day after the May Hearing at which Byrne expressly affirmed that he

         understood and would comply with the requirements in the Protective and Status Quo Orders, he

         again violated these orders by sharing social media posts that included                  Litigation

         Documents. Id. at 61:23                                                               [the Orders],

                                     ECF No. 105.



         made clear she does not feel responsible for ensuring he does so. On April 2, 2024, the day before

         he posted the video that he later deleted, Byrne said the following in another video on X:



                decide what you want.

                                                         .

                This is crazy, what we have. We got to go through all this Kibuki dance. But we
                are giving him the respect this time of allowing him the opportunity to unseal this.
                                                            I have it now. I have it on my machine.

                public.
                                                the whole nation hinges on this. You obviously
                have a duty, Your Honor, to unseal this Dominion case. And

                                                         58

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                 anyway if you make the wrong decision and you throw me in prison. And I mean
                 that.

         ECF No. 102-3 at 11 (emphasis added). Byrne added:




                 and you throw me in jail. Fuck you . .


         Id. (emphasis added).

         will no doubt continue to disrupt these proceedings.

                 Third                                                                                severe

         consequences of their actions and risk continued harm. Byrne                                    has

         made expressly clear that he plans to follow through on his promise to do whatever it takes,

         including risking jail time, to disseminate                                     . Id.; ECF Nos. 105;

         106. Byrne and Lambert        acts have not only fueled theories of widescale election fraud and

         crime   which Dominion describes as xenophobic for being pu

         employment of Serbians      they have resulted in real harm and threats to Dominion employees.

         ECF Nos. 75; 82; 108; 113. Byrne and Lambert were on notice that their actions could result in

         harm,                                                                        abundantly foreseeable

         that similar statements to those at issue in the Complaint could lead to similar results.

                 Finally                                                         for disqualification due to

         egregious misconduct would lead to an untenable result if Lambert were permitted to remain

         counsel here. The main justification for limiting disqualification to extreme circumstances (absent



         their counsel. This principle cannot mean that courts must protect such a choice that is based on




                                                          59

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         similarly extreme and egregious misconduct. See ECF No. 75-

                                                           ).29

                Dominion has raised a plausible narrative that Lambert became involved in this litigation

                                                                                                        ECF

         No. 75 at 3, 21 22.                                                 , responses, and representations

         to this Court, the Court does not disagree. It is undisputed that Lambert entered the case without

         giving notice for months

         Leaf and used them in her own criminal case while hiding these actions from even McGlinchey,

         all before she entered her formal appearance. Lambert has failed at every opportunity to show the

         Court that she will act in accordance with its rules and requirements.

                                                              continues to exacerbate this concern. At best,

         Lambert failed to inform the Court and Dominion that Case, another attorney, had access to

                                                                                         litigation. ECF No.

         113. This failure is severe, as the Court clearly and repeatedly prohibited Lambert from sharing



         the Court if anyone else gained access to the documents. But even more troubling, Dominion has

         put forth another plausible narrative that Lambert and Case have orchestrated a series of new

         moves to                                                                                          in

                                                        s. 108; 113. According to Dominion, Lambert has



         documents outside this litigation. ECF Nos. 113 at 3 7; 113-4 at 3. But even more concerningly,



         29
                See also In re BellSouth Corp., 334 F.3d 941, 946 47 (11th Cir. 2003) (rejecting a
         mandamus petition to review a disqualification ruling as not immediately appealable when a court
         disqualified counsel for                              forcing [a judge] to disqualify       .
                                                         60

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                                                                               which is not yet, as far as the

         Court is aware, publicly available. ECF Nos. 108 at 2 10; 113 at 3 7; 116 at 25.

         well-founded concern about

         find other ways to circumvent Court orders. It now appears that is exactly what she has done.

         Lambert has no response to this theory. ECF Nos. 111, 117.

                Despite that no party, particularly Lambert, has made any meaningful argument in favor of

         lesser sanctions, the Court has considered whether there is an available sanction less severe than

         disqualification that could mitigate the harm Lambert has and continues to inflict on the judicial

         process. As set forth above, however, no order, rule, warning or prohibition has stopped her

         misconduct in this case. For example, after the period of time following the Status Quo Order, she

         could have complied strictly with both Orders and given the Court some faith that she would cease

         her misconduct. Instead, she continued to violate the Orders, put forth baseless arguments to

                                                          and create fire drills for Dominion and the Court

         by refusing to be forthright with the Court.

                The bottom line is that, in her short time as counsel, Lambert has repeatedly shown that

         she has no regard for orders or her obligations as an attorney before this Court. See e.g., ECF Nos.

         103 at 40:6

         are black and white and clear. I can see fraud of services in these documents. I can see conspiracy

                                ; 106.              blatant disregard for this Court and her obligations is

         unending; her actions have already severely infected this proceeding. There is no doubt that they

         would continue to do so if she were permitted to remain counsel in this case. 30 This Court cannot



         30
                 As noted, in the past two weeks Dominion sought leave to file two additional supplements
         detailing even more incidents of alleged misconduct by Lambert, highly concerning remarks from
         Byrne                                                                                     . ECF
                                                         61

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         allow such intentional, dangerous, and relentless misconduct to continue. Lambert is immediately

         disqualified from serving as counsel in this case.

                                                  CONCLUSION

                                                                   GRANTED.


         Date: August 13, 2024
                                                              ___________________________________
                                                              MOXILA A. UPADHYAYA
                                                              UNITED STATES MAGISTRATE JUDGE




         Nos. 118; 122. The Court appreciates efforts to supplement as the Court previously requested, but
         it resolves this Motion without addressing these latest incidents because it appears that any other
         approach will only continue the cycle of alleged misconduct while this Motion is pending.
                                                         62

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                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


        US DOMINION, INC., et al.,

                       Plaintiffs,

               v.                                             Civil Action No. 1:21-cv-02131 (CJN)

        PATRICK BYRNE,

                       Defendant.


                                                      ORDER

                On June 8, 2023, the parties jointly moved for an order to govern the handling of

         information shared through discovery. See ECF 45. The Court thereafter entered a Protective

         Order expressly mandating (among other things) that:

                Any Discovery Material produced in the Litigation will be
                purposes of this Litigation and no Receiving Party will provide Discovery Material
                to any person or entity (including for any other litigation) or make any Discovery
                material public except as permitted by this Order and in this Litigation.

         ECF 46 at 3 (emphasis added). The Protective Order also requires that, if a party receives a

         subpoena to produce certain discovery material, it must inform the other party and object to

         producing the material.1 Id. at 18 19.

                On March 12, 2024, attorney Stefanie Lambert entered her appearance on behalf of

         Defendant Patrick Byrne. Three days later, Plaintiffs moved to disqualify Lambert, accusing her

         of violating the        Protective Order by (1) publicly filing, in a Michigan criminal case against



         1
          This requirement applies to subpoenas seeking material that the producing party has designated
                                                                                         for challenging
         such a designation. See id. at 3 4, 13 14.



                                                          1
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         her, documents that were produced here pursuant to that Order; and (2) providing to a Michigan

         sheriff her username and password so that he could access the discovery database (which included

         documents produced pursuant to the Order). See ECF 75 at 9. Lambert did not deny that she

         disclosed the documents, that the Michigan sheriff accessed the database, or that the materials were

         thereafter viewed thousands of times, but she asserted that the documents were not protected by

         the Order and that, even if they were, she was entitled to give them to law enforcement. See ECF

         76 at 28.

                Magistrate Judge Upadhyaya thereafter entered a so-called Status Quo Order, which was

         intended both to cure (to the extent possible)

         Protective Order and to prevent further violations during the pendency of Plaintiffs motion.2 See

         generally ECF 77. Five months later, Judge Upadhyaya disqualified Lambert, holding in a lengthy

         and thoughtful opinion that Lambert violated both the Protective Order and the Status Quo Order

         and that no lesser sanction was appropriate. See ECF 126. Lambert challenges that decision.

                                                      Analysis

                Putting aside a few exceptions not relevant here, d

                                                                                     Koller ex rel. Koller v.

         Richardson-Merrell Inc., 737 F.2d 1038, 1056 (D.C. Cir. 1984), vacated on other grounds,

         Richardson-Merrell, Inc. v. Koller, 472 U.S. 424 (1985). The parties dispute what standard of

                                                          that disqualification was appropriate here. But the

         Court need not resolve that dispute, since it would affirm that decision even if it were reviewing

         the disqualification de novo.


         2
           The Court referred all discovery disputes in this case to Judge Upadhyaya. See Minute Order,
         January 31, 2024. The Court also referred to her the motion to disqualify Lambert. See Minute
         Order, April 15, 2024.



                                                          2
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                To begin, Judge Upadhyaya correctly decided that Lambert violated the Protective Order.

         That Order expressly                                                       solely for purposes of this

         Litigation                     given to any person or entity (including for any other litigation),



         Lambert, however, gave a sheriff unrestricted access to the entire discovery database. And even

         if, as Lambert argues, an implied exception to the Protective Order allowed her to disclose the

         materials to law enforcement officers (it did not), that exception would not excuse her having filed

         the documents on a public docket. To the extent Lambert believed the public had a right to access

         the discovery materials, she was required to seek approval from the Court for that disclosure.

         Instead, after agreeing to use discovery material only as permitted by the Protective Order, see

         ECF 75-9, she unilaterally decided to disseminate it publicly.

                                   isqualification would not have been warranted had things stopped there;

         a lesser sanction might have sufficed if, for example, Lambert demonstrated that she had made a

         genuine mistake about the Protective Order and that she would comply with it in the future. But

         Judge Upadhyaya did not disqualify Lambert solely for her initial acts. Instead, Judge Upadhyaya

         entered the Status Quo Order and gave Lambert five months to show that she would not continue

         to jeopardize the confidentiality of discovery materials. See Tr. 5/16/2024 at 60:24-

         to make it very clear that going forward if I see any evidence that violates this [status quo] order,

                                                                       Plaintiffs               Lambert failed

         to do so.

                                          misconduct during the status quo period was not as egregious as

         her initial violations, at least insofar as she did not leak any new documents. But during that

         period, the bar for compliance had become higher; for good reason, the Status Quo Order imposed




                                                          3
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         additional obligations. For example, that Order



                                      Lambert claims that she raised the issue with her counsel in that case;

         but when her counsel refused to file the documents under seal, Lambert apparently stopped

         attempting to comply with the requirement and did not inform Judge Upadhyaya of her

         unsuccessful attempt. See ECF 126 at 37 38; Tr. 5/16/2024 at 29 31. That half-hearted effort

                                                               remove the documents from the public record

         and file them under seal.

                The Status Quo Order also required

         distributing, providing access to or discussing any discovery material     ECF 77 at 1. However,

         the day after the hearing at which Judge Upadhyaya issued that Order, Lambert stated to ABC



                      ECF 126 at 15 (emphasis omitted). And just a few weeks later, Lambert again

         discussed the discovery material during an interview. See ECF 102-1 at 23

         able to spot a number of different criminal pieces of evidence    a lot, ok? Not just one document

         or two ).3

                During this later period, Lambert also ignored (if not violated) at least two parts of the

         original Protective Order. First, that Order obligates Lambert to

                                     Discovery Material by each unauthorized person who receive[d] the

                                                           Lambert appeared on a podcast and the host began

         discussing the leaked documents, Lambert did not attempt to stop him. Instead, she encouraged



         3
          For convenience, the Court cites to Plaintiffs transcripts                         . The Court has
         watched the interviews and verified that the transcripts are accurate.



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         the host to invite onto the show the sheriff to whom she had provided access to the discovery

         database. ECF 102-1 at 22. Second, the Protective Order obligates

                                                                              confidential discovery material

         to                                                                                 this Order. ECF

         46 at 18 19. When Lambert informed Plaintiffs that she had received a subpoena to produce

         confidential material, she indicated that it was Plaintiffs burden to object. See ECF 108-9 at 6.

         After Plaintiffs pointed her to the Protective O

         repeatedly failed to confirm that she would object to the subpoena. See ECF 108 at 3 4; see

         generally ECF 108-9.

                    In short, after it became clear that Lambert had engaged in egregious violations of the

         Protective Order, she should have taken every step possible to show that those would remain

         isolated incidents. Instead, she violated the Status Quo Order and, at best, skirted around the edges

         of the Protective Order. That conduct       combined with                   , expressed both before

         Judge Upadhyaya and now before this Court during the October 17, 2024 hearing, that she was

         entitled to leak discovery materials because she believed doing so to be in the public interest

         creates a real and continuing risk that Lambert might again leak confidential information. Judge

         Upadhyaya thus correctly concluded that                            violations were

                                Koller, 737 F.3d at 1056, and that no sanction short of disqualification would

         suffice.

                    Accordingly, it is ORDERED that Defendant Motion for Order, ECF 133, is DENIED.



         DATE: October 22, 2024

                                                                       CARL J. NICHOLS
                                                                       United States District Judge


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                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA


        US DOMINION, INC., et al.,

                         Plaintiffs,

                v.                                                  Civil Action No. 1:21-cv-02131 (CJN)

        PATRICK BYRNE,

                         Defendant.


                                                           ORDER

                 Magistrate Judge Upadhyaya disqualified Defendant’s counsel, Stefanie Lambert, due to

         Lambert’s repeated violations of various orders. See ECF 126. Lambert objected, ECF 133, and

         in October, this Court upheld the disqualification, see ECF 144. Lambert moves for relief from

         the October order. 1 See ECF 148. None of her arguments persuade the Court.

                 First, Lambert points out that there is generally a presumption against disqualification.

         ECF 148-1 at 8–9. The Court agrees, but the October order correctly applied that presumption,

         finding that disqualification was warranted only because this is the rare case involving “truly

         egregious misconduct likely to infect future proceedings.” See ECF 144 at 5 (quoting Koller ex

         rel. Koller v. Richardson-Merrell Inc., 737 F.2d 1038, 1056 (D.C. Cir. 1984), vacated on other

         grounds, Richardson-Merrell, Inc. v. Koller, 472 U.S. 424 (1985)).

                  Second, Lambert argues that the Court erred by finding that she violated the protective

         order during several interviews by disseminating leaked material. ECF 148-1 at 9–10. But the



         1
           Lambert filed her motion “[p]ursuant to Rule 60(b) of the Federal Rules of Civil Procedure,” ECF 148
         at 1, but that rule applies only to final orders. The Court will construe her motion as one for reconsideration
         of an interlocutory order under Federal Rule of Civil Procedure 54(b).



                                                               1
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         Court made no such finding. Rather, the October order stated that Lambert violated the status quo

         order during the interviews. That order, entered by Judge Upadhyaya following Lambert’s initial

         violations of the Court’s protective order, required Lambert to “immediately desist from …

         discussing any discovery material.” ECF 77 at 1. As the October order points out, Lambert

         violated the status quo order during her interviews by discussing the materials she had previously

         disseminated. See ECF 144 at 4. 2

                 Third, Lambert asserts that she has discovered exculpatory evidence in the criminal case

         against her. But the substance of that case had, and continues to have, no impact on the Court’s

         decision that disqualification was warranted. The October order discussed the criminal case only

         as one avenue through which Lambert violated the protective order—specifically, by uploading

         Dominion’s discovery materials to the docket and thus giving the public at large access to them.

                 Finally, Lambert states that a party can be relieved from an order if the party was unable

         to present a claim or defense. However, none of the issues Lambert alleges, see ECF 148-1 at 19–

         22, relate to whether she had an opportunity to challenge Judge Upadhyaya’s disqualification

         order. Lambert had such an opportunity, and she took it; as part of her objection to the order, she

         participated in oral arguments and submitted lengthy briefing, see ECF 133–34 & 139. The

         Court’s rejection of Lambert’s arguments does not mean that she was unable to present them.

                 Accordingly, it is ORDERED that Defendant’s Motion for Order, ECF 148, is DENIED.



         DATE: December 13, 2024

                                                                          CARL J. NICHOLS
                                                                          United States District Judge

         2
           As for Lambert’s accusation that the Court relied “on Dominion’s bare assertions” about Lambert’s
         interviews, ECF 148-1 at 10, the Court reiterates—as it stated in the October order, see ECF 144 at 4—that
         the Court based its conclusions on its own viewing of the interviews.



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                         CERTIFICATE OF PARTIES AND AMICI

                Patrick Byrne is the Defendant/Appellant. US Dominion, Inc., Dominion
         Voting Systems, Inc., and Dominion Voting Systems Corporation are the
         Plaintiffs/Appellees. There are no other parties and no amici.

                                                  /s/Laranda M. Walker
                                                  Laranda M. Walker




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                           CORPORATE DISCLOSURE STATEMENT

               Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, and Circuit
         Rule 26.1 of the United States Court of Appeals for the District of Columbia Circuit,
         US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems
         Corporation (collectively Dominion) hereby file this Disclosure Statement.

               US Dominion, Inc. is a for-profit Delaware Corporation with its principal
         place of business in Denver, Colorado.

               Dominion Voting Systems, Inc., which is a wholly owned subsidiary of US
         Dominion, Inc., is a for-profit Delaware corporation with its principal place of
         business in Denver, Colorado.

               Dominion Voting Systems Corporation, also a wholly owned subsidiary of US
         Dominion, Inc., is a for-profit Ontario corporation with its principal place of business
         in Toronto, Ontario.

               Dominion contracts with state and local governments to provide voting
         systems and related services.

               The following are parent companies, subsidiaries, affiliates, or companies
         which own at least 10% of the stock of US Dominion, Inc., Dominion Voting
         Systems, Inc., or Dominion Voting Systems Corporation, which have any
         outstanding securities in the hands of the public:

                      None

                                                        /s/Laranda M. Walker
                                                        Laranda M. Walker




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